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               League of Women Voters of Florida, Inc.

                                                      vs.

                                               Laurel Lee



                                          Deposition of:

                                         ELIZABETH GUZZO

                                        October 22, 2021
                                                      Vol 01
     Legend for Designations:

     Yellow Highlighting = Plaintiffs' Designations
     Gray Highlighting = Defendants' Designations
     Green Highlighting = Mutual Designations

     Legend for Objections:

     "P="      = Plaintiffs' Objection
     "D="      = Defendants' Objection
     401/402   = Relevance
     602       = Foundation / Lack of Personal Knowledge
     701       = Calls for Speculation
     802       = Hearsay
     C         = Cumulative
     Form      = Assumes Facts Not in Evidence, Argumentative, or Vague
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October 22, 2021




  · · · · · IN THE UNITED STATES DISTRICT COURT
  · · · · · · ·NORTHERN DISTRICT OF FLORIDA
  · · · · · · · · ·TALLAHASSEE DIVISION

  ·   ·   ·   ·   ·   ·   ·   ·   CASE NO. 4:21   cv   186-MW/MAF
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   187-MV/MAF
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   201-MV/MAF
  ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·4:21   cv   242-MV/MAF

  LEAGUE OF WOMEN VOTERS
  FLORIDA, INC., et al.,

  · · · · ·           Plaintiffs,
  vs.
  LAUREL M.           LEE, Florida
  Secretary           of State, et al.,
  · · · · ·           Defendants.

  and

  REPUBLICAN NATIONAL COMMITTEE,
  NATIONAL REPUBLICAN SENATORIAL
  COMMITTEE,
  · · · · · Intervenors-Defendants.
  ________________________________/



  · ZOOM 30(b)(6) DEPOSITION OF OFFICE OF THE ATTORNEY

  · · · · · · · ·GENERAL (Elizabeth Guzzo)

  · · · · · · · ·Friday, October 22, 2021

  · · · · · · · · 9:32 a.m. -· 11:55 a.m.

  · · · · · · · · · · · ·Via Zoom




  · · · · · · ·STENOGRAPHICALLY REPORTED BY:

  · · · · · · · · · ·SANDRA L. NARGIZ
  · · · · · · RPR, CM, CRR, CRC, FPR, CCR-GA



  Job No.· 212964


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  ·1· ·APPEARANCES: (All appearing via Zoom.)

  ·2· · ·ON BEHALF OF THE PLAINTIFF THE LEAGUE OF WOMEN
  · · · ·VOTERS FLORIDA, INC/LEAGUE OF WOMEN VOTERS OF
  ·3· · ·FLORIDA EDUCATION FUND, INC.:

  ·4
  · ·   ·   ·   ·ELIAS LAW GROUP, LLP
  ·5·   ·   ·   ·15500 New Barn Road, #104
  · ·   ·   ·   ·Miami Lakes, FL 33014
  ·6·   ·   ·   ·305.823.2300
  · ·   ·   ·   ·BY:· DAVID FOX, ESQUIRE
  ·7·   ·   ·   ·dfox@elias.law

  ·8·   ·ON BEHALF OF PLAINTIFFS HARRIET TUBRAM FREEDOM
  · ·   ·FIGHTERS and HEAD COUNT, INC.:
  ·9
  · ·   ·   ·   ·BAKER McKENZIE
  10·   ·   ·   ·452 Fifth Avenue
  · ·   ·   ·   ·New York, NY· 10018
  11·   ·   ·   ·212.626.4728
  · ·   ·   ·   ·BY:· WILLIAM DEVANEY, ESQUIRE
  12·   ·   ·   ·william.devaney@bakermckenzie.com
  · ·   ·   ·   ·CHARLTON TARPLEY, ESQUIRE
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  · ·   ·   ·   ·BRENDAN O'CALLAGHAN, ESQUIRE
  14·   ·   ·   ·brendan.ocallaghan@bakermckenzie.com
  · ·   ·   ·   ·NICHOLAS O'BRIEN, ESQUIRE
  15·   ·   ·   ·nicholas.obrien@bakermckenzie.com

  16·   ·   ·   ·FAIR ELECTIONS CENTER
  · ·   ·   ·   ·1825 K Street NW, #450
  17·   ·   ·   ·Washington, D.C. 20006
  · ·   ·   ·   ·202.331.0114
  18·   ·   ·   ·BY:· MICHELLE KANTER COHEN, ESQUIRE
  · ·   ·   ·   ·mkantercohen@fairelectionscenter.org
  19
  · ·   · ·ON BEHALF OF THE DEFENDANT ATTORNEY GENERAL
  20·   · ·ASHLEY MOODY:

  21·   ·   ·   ·OFFICE OF ATTORNEY GENERAL
  · ·   ·   ·   ·PL-01 The Capitol
  22·   ·   ·   ·Tallahassee, FL· 32399
  · ·   ·   ·   ·850.414.3300
  23·   ·   ·   ·BY: BILAL AHMED FARUQUI, ESQUIRE
  · ·   ·   ·   ·bilal.faruqui@myfloridalegal.com
  24·   ·   ·   ·KAREN BRODEEN, ESQUIRE
  · ·   ·   ·   ·karen.brodeen@myfloridalegal.com
  25


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  ·1· ·APPEARANCES:· (continued)

  ·2· · ·ON BEHALF OF THE DEFENDANT ALACHUA COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·3

  ·4·   ·   ·   ·ALACHUA COUNTY ATTORNEY'S OFFICE
  · ·   ·   ·   ·12 SE 1st Street
  ·5·   ·   ·   ·Gainesville, FL 32601
  · ·   ·   ·   ·352.374.5218
  ·6·   ·   ·   ·BY: DIANA JOHNSON, ESQUIRE
  · ·   ·   ·   ·dmjohnson@alachuacounty.us
  ·7

  ·8· · ·ON BEHALF OF THE DEFENDANTS BREVARD, DESOTO,
  · · · ·FLAGLER, GILCHRIST, GULF, HIGHLANDS, JEFFERSON,
  ·9· · ·MADISON COUNTIES SUPERVISORS OF ELECTIONS:

  10
  · ·   ·   ·   ·ROPER, P.A.
  11·   ·   ·   ·2707 East Jefferson Street
  · ·   ·   ·   ·Orlando, FL· 32803
  12·   ·   ·   ·407.897.5150
  · ·   ·   ·   ·BY: NICHOLAS J. MARI, ESQUIRE
  13·   ·   ·   ·nmari@roperpa.com
  · ·   ·   ·   ·FRANK M. MARI, ESQUIRE
  14·   ·   ·   ·fmari@roperpa.com

  15
  · · · ·ON BEHALF OF THE DEFENDANT OKALOOSA SUPERVISOR OF
  16· · ·ELECTIONS:

  17
  · ·   ·   ·   ·NABORS GIBLIN & NICKERSON
  18·   ·   ·   ·1500 Mahan Drive, #200
  · ·   ·   ·   ·Tallahassee, FL· 32302
  19·   ·   ·   ·850.224.4070
  · ·   ·   ·   ·BY:· GREGORY T. STEWART, ESQUIRE
  20·   ·   ·   ·gstewart@ngnlaw.com

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  ·1· ·APPEARANCES:· (continued)

  ·2· · ·ON BEHALF OF THE DEFENDANT CITRUS COUNTY
  · · · ·SUPERVISOR OF ELECTIONS:
  ·3

  ·4·   ·   ·   ·BELL & ROPER
  · ·   ·   ·   ·2727 East Jefferson Street
  ·5·   ·   ·   ·Orlando, FL· 32308
  · ·   ·   ·   ·407.897.5150
  ·6·   ·   ·   ·BY: DALE A. SCOTT, ESQUIRE
  · ·   ·   ·   ·dscott@bellroperlaw.com
  ·7

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  ·3· ·WITNESS· · · · · · · · · · · · · · · · · · · ·PAGE

  ·4·   ·30(b)(6) OFFICE OF THE ATTORNEY GENERAL
  · ·   ·(Elizabeth Guzzo)
  ·5
  · ·   · · Direct Examination by Mr. Fox· · · · · · · · ·6
  ·6·   · · Cross Examination by Ms. Tarpley· · · · · · ·63

  ·7· ·CERTIFICATE OF OATH· · · · · · · · · · · · · · ·85

  ·8· ·CERTIFICATE OF REPORTER· · · · · · · · · · · · ·86

  ·9· ·READ AND SIGN LETTER· · · · · · · · · · · · · · 87

  10· ·ERRATA SHEET· · · · · · · · · · · · · · · · · · 88

  11·   ·(STENOGRAPHER'S NOTE:· All documents were sent to
  · ·   ·Stenographer electronically.· A digital exhibit
  12·   ·sticker was placed on the documents which were
  · ·   ·marked during the proceeding.)
  13

  14

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  · · ·LEAGUE
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  19· ·3· Chapter 2021-11· · · · · · · · · · · · · · · 49

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  22·   · ·   Request for Production to Defendant
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  23·   ·3·   Responses to Plaintiffs' First Set of
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                                                                        Page 6
  ·1· · The following Zoom proceedings began at 9:32 a.m.
  ·2· · · · · · ·THE STENOGRAPHER:· Would you raise your
  ·3· · · · right hand, please?· Do you swear or affirm
  ·4· · · · that the testimony you are about to give will
  ·5· · · · be the truth, the whole truth, and nothing but
  ·6· · · · the truth?
  ·7· · · · · · ·THE WITNESS:· I do.
  ·8· · · · · · ·THE STENOGRAPHER:· Thank you.
  ·9· ·Thereupon,
  10· · · · · 30(b)(6) OFFICE OF THE ATTORNEY GENERAL
  11· · · · · · · · · · · (Elizabeth Guzzo)
  12· ·having been first remotely duly sworn or affirmed,
  13· ·as hereinafter certified testified as follows:
  14· · · · · · · · · · DIRECT EXAMINATION
  15· ·BY MR. FOX:
  16· · · · Q· · Good morning, Ms. Guzzo.
  17· · · · A· · Good morning.
  18· · · · Q· · Is that how I should pronounce your last
  19· ·name?
  20· · · · A· · It's Gu- -- it's actually Guzzo.
  21· · · · Q· · Okay.· My apologies.
  22· · · · · · ·My name is David Fox.· I'm an attorney
  23· ·with the Elias Law Group, and I represent the
  24· ·plaintiffs in one of the consolidated actions in
  25· ·which this deposition is being taken, the League of


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  ·1· ·Women Voters' case.
  ·2· · · · · · ·Could you just state your name for the
  ·3· ·record?
  ·4· · · · A· · Elizabeth Guzzo.
  ·5· · · · Q· · And what's your business address?
  ·6· · · · A· · 400 South Monroe Street, Tallahassee,
  ·7· ·Florida 32399, I believe.
  ·8· · · · Q· · Have you ever been deposed before?
  ·9· · · · A· · Yes.
  10· · · · Q· · How many times?
  11· · · · A· · Once.
  12· · · · Q· · What sort of case was it in?
  13· · · · A· · It was another legislative case.
  14· · · · Q· · How long ago?
  15· · · · A· · July 2020, I believe.
  16· · · · Q· · And were -- do you remember if at that
  17· ·deposition you were testifying on behalf of the
  18· ·office of the Attorney General as well?
  19· · · · A· · No.· I was a fact witness.
  20· · · · Q· · Great.· I will just go over a few ground
  21· ·rules.· Most of these will probably be familiar to
  22· ·you from the last time you were deposed.
  23· · · · · · ·First of all, Sandi, the court reporter,
  24· ·will transcribe my questions and your answers, so
  25· ·it's important that we try to speak clearly and not


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  ·1· ·talk over each other.· That can be harder on Zoom,
  ·2· ·so far you're doing great.· So I just ask that you
  ·3· ·wait for me to finish my question before you start
  ·4· ·to answer, and I will do my best to wait for you to
  ·5· ·finish your answer before I ask a question.
  ·6· · · · · · ·I apologize in advance if I interrupt you,
  ·7· ·I don't intend to.· And so please just let me know,
  ·8· ·and I will let you finish your answer.· Does that
  ·9· ·sound okay?
  10· · · · A· · It does.
  11· · · · Q· · You are under oath, sworn to tell the
  12· ·truth the same as if you were in court.· Do you
  13· ·understand that?
  14· · · · A· · I do.
  15· · · · Q· · And you're being deposed today as a
  16· ·representative of the Florida Office of Attorney
  17· ·General.· Do you understand that?
  18· · · · A· · I do.
  19· · · · Q· · And so, therefore, you're answering on
  20· ·behalf of the Office of Attorney General.· You
  21· ·understand that?
  22· · · · A· · Yes.
  23· · · · Q· · If I use the word "you" today outside of
  24· ·these preliminary ground rule questions, I mean both
  25· ·you personally and also the Office of Attorney


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   ·1· ·General.· If that's confusing for any particular
   ·2· ·question, feel free to ask me to clarify, and I can
   ·3· ·clarify it.· Does that sound okay?
   ·4· · · · A· · Sure.· Thanks.
   ·5· · · · Q· · In general, if you don't understand any
   ·6· ·question that I ask, please ask me to clarify it,
   ·7· ·otherwise, I'm going to assume that you understand
   ·8· ·the question.· Does that sound okay?
   ·9· · · · A· · Yes.
   10· · · · Q· · Your attorney may object to some questions
   11· ·that I ask.· If he does, it's fine for you to still
   12· ·go on and answer unless he instructs you not to
   13· ·answer.· Does that sound okay?
   14· · · · A· · Yes.
   15· · · · Q· · And if at any time you want to take a
   16· ·break, just let me know.· The only thing I'll ask is
   17· ·that if there's a question pending, that you answer
   18· ·that question before we take a break.· Does that
   19· ·sound okay?
   20· · · · A· · Yes.
   21· · · · Q· · Great.· I'd like you to pull up the
   22· ·document that I've sent that's Exhibit 1., and I
   23· ·will drop this in the chat as well.· And could you
   24· ·let me know when you have it up?
   25· · · · A· · It's up.


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                                                                         Page 10
   ·1· · · · Q· · Have you seen this document before?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · What is it?
   ·4· · · · A· · It is the Response to Plaintiffs' First
   ·5· ·Set of Requests for Production to Defendant Ashley
   ·6· ·Moody.
   ·7· · · · Q· · That's Exhibit 1?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · I may have sent the wrong document.· Give
   10· ·me one second, please.
   11· · · · A· · Okay.
   12· · · · · · ·MR. FARUQUI:· And, David, just FYI, we --
   13· · · · the file we received has seven exhibits, and
   14· · · · they all say HTFF Exhibit 1 through 7.
   15· · · · · · ·MR. FOX:· Oh, so that -- can we go off the
   16· · · · record for a second, Sandi?
   17· · · · · · ·MR. FARUQUI:· Sure.
   18· · · · · · ·(Discussion off the record.)
   19· ·BY MR. FOX:.
   20· · · · Q· · Do you now have in front of you a document
   21· ·that is entitled:· "Subpoena to testify at a
   22· ·deposition in a civil action"?
   23· · · · A· · Yes, I have the correct one out.
   24· · · · Q· · Great.
   25· · · · · · ·MR. FOX:· I'd like to mark that as


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                                                                         Page 11
   ·1· · · · Exhibit 1 to this deposition.
   ·2· · · · · · ·(League Exhibit 1 was marked for
   ·3· · · · identification.)
   ·4· ·BY MR. FOX:
   ·5· · · · Q· · Have you seen this document before?
   ·6· · · · A· · I'm not sure.
   ·7· · · · Q· · Okay.· If you could go down to page --
   ·8· ·page 6 of the PDF file, it says -- it has Page No. 3
   ·9· ·at the bottom.· There's a heading towards the bottom
   10· ·of the page, all caps in bold, that says "topics."
   11· · · · · · ·Can you let me know when you're there?
   12· · · · A· · Yes, we're there.
   13· · · · Q· · And do you see starting on that page and
   14· ·continuing on the next few pages a list of nine
   15· ·topics?
   16· · · · A· · Yes.
   17· · · · Q· · Have you seen these topics before?
   18· · · · A· · Yes.
   19· · · · Q· · When do you think you first saw them, if
   20· ·you remember?
   21· · · · A· · Probably a few weeks ago.
   22· · · · Q· · And are you prepared to discuss these
   23· ·topics on behalf of the Office of Attorney General
   24· ·today?
   25· · · · A· · Yes.


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   ·1· · · · Q· · What did you do to prepare?
   ·2· · · · A· · I spoke with my attorneys, I reviewed over
   ·3· ·discovery, read through these.
   ·4· · · · Q· · How long, approximately, do you think you
   ·5· ·spoke with your attorneys in total?
   ·6· · · · A· · Maybe a few hours.
   ·7· · · · Q· · More than one meeting or one meeting?
   ·8· · · · A· · More than one.
   ·9· · · · Q· · And anyone aside from your attorneys
   10· ·present?
   11· · · · A· · No.
   12· · · · Q· · And you said you reviewed discovery.· What
   13· ·do you mean by that?
   14· · · · A· · Some of the documents that we provided to
   15· ·plaintiffs in their request for production.
   16· · · · · · ·MR. FARUQUI:· Do you -- I'm sorry to
   17· · · · interrupt.· Do you want this document still up?
   18· · · · · · ·MR. FOX:· You can take it down.
   19· · · · · · ·MR. FARUQUI:· Okay.· And I am sorry, we
   20· · · · don't have multiple screens, so whenever you're
   21· · · · done with a document, if you could let us know
   22· · · · and we'll switch back to the video.
   23· · · · · · ·MR. FOX:· Will do.· Thank you, Bilal.
   24· ·BY MR. FOX:
   25· · · · Q· · Did you review any documents in


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                                                                         Page 13
   ·1· ·preparation for today that were not produced to us
   ·2· ·in discovery?
   ·3· · · · A· · No.
   ·4· · · · Q· · Who's your employer?
   ·5· · · · A· · The Attorney General.
   ·6· · · · Q· · And how long have you worked for the
   ·7· ·Attorney General?
   ·8· · · · A· · For the Attorney General's office, almost
   ·9· ·eight years.
   10· · · · Q· · Have you been in the same position that
   11· ·whole time?
   12· · · · A· · No.
   13· · · · Q· · What was the first position you held in
   14· ·the Attorney General's office?
   15· · · · A· · It's titled legislative assistant,
   16· ·probably.
   17· · · · Q· · And how long were you a legislative
   18· ·assistant?
   19· · · · A· · Probably five years.
   20· · · · Q· · And what was your title after that?
   21· · · · A· · Then I was senior legislative aide.
   22· · · · Q· · And how long were you senior legislative
   23· ·aide?
   24· · · · A· · Up until two months -- or until September.
   25· · · · Q· · And what's your title now?


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                                                                         Page 14
   ·1· · · · A· · Director of legislative affairs.
   ·2· · · · Q· · Who do you report to?
   ·3· · · · A· · Richard Martin.
   ·4· · · · Q· · And does anyone report to you?
   ·5· · · · A· · No.
   ·6· · · · Q· · Is there still -- is there now someone in
   ·7· ·the office with the title legislative aide?
   ·8· · · · A· · No.
   ·9· · · · Q· · What's your educational background?
   10· · · · A· · I have a bachelor's of science from
   11· ·Florida State.
   12· · · · Q· · So you're not an attorney?
   13· · · · A· · No.
   14· · · · · · ·MR. FOX:· If you could put up exhibit,
   15· · · · what I'm going to mark as Exhibit 2.
   16· · · · · · ·Bilal, this was the file I sent called
   17· · · · Exhibit 2, and I will place it in the chat as
   18· · · · well.
   19· · · · · · ·(League Exhibit 2 was marked for
   20· · · · identification.)
   21· · · · · · ·MR. FARUQUI:· We have it up.
   22· ·BY MR. FOX:
   23· · · · Q· · Have you seen this document before?
   24· · · · A· · Yes.
   25· · · · Q· · And what is it?


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   ·1· · · · A· · It's the State of Florida, office of the
   ·2· ·Attorney General, I'd say organizational structure
   ·3· ·or chart.
   ·4· · · · Q· · And on the far-left side under
   ·5· ·"legislative affairs," that's you?
   ·6· · · · A· · Yes.
   ·7· · · · Q· · And at the top is the Attorney General,
   ·8· ·Ashley Moody?
   ·9· · · · A· · Yes.
   10· · · · Q· · Everyone in the office reports to the
   11· ·Attorney General ultimately?
   12· · · · · · ·MR. FARUQUI:· Object to form.
   13· · · · A· · Ultimately, yes.
   14· ·BY MR. FOX:
   15· · · · Q· · Did you understand my question?
   16· · · · A· · Yes.
   17· · · · Q· · Do you see on the far right of this chart
   18· ·the Office of Statewide Prosecution?
   19· · · · A· · Yes.
   20· · · · Q· · The Office of Statewide Prosecution
   21· ·reports to the Attorney General?
   22· · · · A· · Yes.
   23· · · · Q· · What does the Office of Statewide
   24· ·Prosecution do?
   25· · · · A· · Prosecutes multi-jurisdictional cases for


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   ·1· ·the state that are referred to him.
   ·2· · · · Q· · And who would refer those cases to him?
   ·3· · · · A· · Different state attorneys would, or we
   ·4· ·have the authorities listed out in the statutes that
   ·5· ·define the Office of Statewide Prosecution.
   ·6· · · · Q· · And when you say that, how is that -- I
   ·7· ·guess I want to understand what you -- what you mean
   ·8· ·by that?
   ·9· · · · A· · There are certain items enumerated out
   10· ·that we have the authority to prosecute certain
   11· ·cases on.· It has to be within our scope --
   12· · · · Q· · And when you say "we" --
   13· · · · A· · -- of that --
   14· · · · Q· · I'm sorry.· I didn't mean to interrupt.
   15· · · · A· · You're good.
   16· · · · Q· · When you say "we," do you mean the Office
   17· ·of Attorney General?
   18· · · · A· · Yes.· Sorry.
   19· · · · Q· · Three columns from the left, do you see
   20· ·the division called "criminal and capital appeals"?
   21· · · · A· · Yes.
   22· · · · Q· · Do you know, do they handle all criminal
   23· ·appeals in the state of Florida?
   24· · · · A· · I'm not sure.
   25· · · · Q· · Okay.· Florida also has state attorneys,


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   ·1· ·right?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · How many state attorneys, if you know?
   ·4· · · · A· · We have one for all the circuits in
   ·5· ·Florida, so I'm not sure of the exact answer.
   ·6· · · · Q· · And what's the relationship between the
   ·7· ·Office of Attorney General and the state attorneys?
   ·8· · · · A· · We don't oversee them.
   ·9· · · · Q· · And back on the chart, on the far-left
   10· ·second row, do you see the general counsel?
   11· · · · A· · Yes.
   12· · · · Q· · What does the general counsel in the
   13· ·Office of Attorney General do?
   14· · · · A· · He is one of the attorneys that oversees
   15· ·issues that are brought to him, he handles formal
   16· ·opinion requests.· And as you can see, he has two
   17· ·divisions that fall under him or her --
   18· · · · Q· · And -- sorry.
   19· · · · A· · -- him or her, whoever the general counsel
   20· ·would be.
   21· · · · Q· · And you mentioned formal opinions.· What
   22· ·are formal opinion requests?
   23· · · · A· · We have an opinions division, as you can
   24· ·see, and there's a process for either elected
   25· ·officials or certain people that -- there's a


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   ·1· ·process of how they can issue -- or request us to
   ·2· ·issue a formal opinion, usually a legal question, or
   ·3· ·it has to be something with how it pertains to their
   ·4· ·role as an elected official.
   ·5· · · · Q· · Can an official ask for an opinion on any
   ·6· ·question of Florida law?
   ·7· · · · A· · No.
   ·8· · · · Q· · What types of questions can an official
   ·9· ·request an opinion regarding?
   10· · · · A· · I can't speak verbatim for what it says,
   11· ·but for most elected officials, it needs to be
   12· ·within their duties and role as the elected
   13· ·official.
   14· · · · Q· · Could a state attorney request an opinion
   15· ·from the Office of Attorney General?
   16· · · · A· · I'm not sure if they're listed as one of
   17· ·them.
   18· · · · Q· · Are the opinions issued by the opinions
   19· ·division binding on other state officials?
   20· · · · A· · I'm not sure how to answer that.
   21· · · · Q· · If a state official requested an opinion
   22· ·but disagreed with that opinion, would the state
   23· ·official be free to disregard the opinion?
   24· · · · A· · I'm not sure.
   25· · · · · · ·MR. FOX:· You can take down that document,


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   ·1· · · · Bilal.· Thank you.
   ·2· · · · · · ·MR. FARUQUI:· Just a second.· Okay.
   ·3· ·BY MR. FOX:
   ·4· · · · Q· · If I use the term, which appears in the
   ·5· ·subpoena, "challenged provisions," do you know what
   ·6· ·I mean by that?
   ·7· · · · A· · Yes.
   ·8· · · · Q· · And just to make sure we're on the same
   ·9· ·page, what I mean is drop box restrictions in Senate
   10· ·Bill 90.
   11· · · · · · ·Do you know what I mean by that?
   12· · · · A· · Yes.
   13· · · · Q· · And I mean changes to the validity period
   14· ·of vote-by-mail requests in Senate Bill 90.
   15· · · · · · ·Do you know what I mean by that?
   16· · · · A· · Yes.
   17· · · · Q· · I mean limits on the possession of
   18· ·multiple vote-by-mail ballots by volunteers.
   19· · · · · · ·Do you know what I mean by that in Senate
   20· ·Bill 90?
   21· · · · A· · Yes.
   22· · · · Q· · I mean warnings that third-party voter
   23· ·registration organizations are required to convey to
   24· ·potential voters.
   25· · · · · · ·Do you know what I mean by that in Senate


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   ·1· ·Bill 90?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · And I mean restrictions on nonpartisan
   ·4· ·activities near polling places in Senate Bill 90.
   ·5· · · · · · ·Do you know what I mean by that?
   ·6· · · · A· · Yes.
   ·7· · · · Q· · What I want to understand is what -- and
   ·8· ·I'll start with a general question.· What is the
   ·9· ·Office of Attorney General's role in enforcing those
   10· ·challenged provisions that I just described?
   11· · · · A· · We do not administer elections.
   12· · · · Q· · The Office of Statewide Prosecution that
   13· ·we talked about before, does that have authority to
   14· ·prosecute violations of any of those provisions?
   15· · · · A· · Yes.· If it's a multi-jurisdictional
   16· ·criminal issue relating to, I would say, voter
   17· ·fraud.
   18· · · · Q· · And when you refer to that authority, does
   19· ·that apply to any of the challenged provisions in
   20· ·particular?
   21· · · · A· · Yes.· To the collection of multiple
   22· ·ballots.
   23· · · · Q· · And the Office of Statewide Prosecution
   24· ·reports to the Attorney General, right?
   25· · · · A· · Yes.


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   ·1· · · · Q· · Is there anyone in the Office of Attorney
   ·2· ·General that could issue opinions regarding the
   ·3· ·interpretation of the challenged positions?
   ·4· · · · A· · Can you repeat that?
   ·5· · · · Q· · Yes.
   ·6· · · · · · ·Is there anyone in the Office of Attorney
   ·7· ·General that could issue opinions as to the proper
   ·8· ·interpretation of any of the challenged provisions?
   ·9· · · · A· · I'm not sure.
   10· · · · Q· · Just as an example, if the Secretary of
   11· ·State wanted to know how to interpret the
   12· ·limitations on the buffer zone around polling
   13· ·places, could the Secretary of State request a legal
   14· ·opinion from the Office of Attorney General?
   15· · · · · · ·MR. FARUQUI:· Object to form.
   16· · · · A· · I'm not sure if that would fall within the
   17· ·scope of her duties, if it's something that we would
   18· ·issue an opinion on.
   19· ·BY MR. FOX:
   20· · · · Q· · If it did -- well, if -- if a state
   21· ·attorney -- another example.
   22· · · · · · ·If a state attorney wanted an opinion on
   23· ·the meaning of the ban on possessing multiple
   24· ·vote-by-mail ballots, could a state attorney request
   25· ·an interpretation from the Office of Attorney


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   ·1· ·General?
   ·2· · · · A· · I'm not sure.· I don't think that would be
   ·3· ·something that we would issue one on.
   ·4· · · · Q· · And if one of those opinions could be
   ·5· ·requested and issued, do you know whether that
   ·6· ·opinion would be binding on the person who requested
   ·7· ·it?
   ·8· · · · A· · I'm not sure.
   ·9· · · · Q· · We talked -- I asked you a few questions
   10· ·earlier about state attorneys, right?
   11· · · · A· · Yes.
   12· · · · Q· · Is there anyone who can direct state
   13· ·attorneys on the meaning of particular offenses
   14· ·within their jurisdiction?
   15· · · · A· · I'm not sure.
   16· · · · Q· · If the Attorney General disagreed with a
   17· ·state attorney on the meaning of one of the
   18· ·challenged provisions, is there anything the
   19· ·Attorney General could do?
   20· · · · A· · I'm not sure.
   21· · · · Q· · If the Attorney General disagreed with the
   22· ·state attorney on the validity of one of the
   23· ·challenged provisions, is there anything the
   24· ·Attorney General could do?
   25· · · · A· · I'm not sure.· We don't oversee the state


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   ·1· ·attorneys.
   ·2· · · · Q· · But you're not sure if there might be
   ·3· ·something that the Attorney General could do?
   ·4· · · · A· · Yes, I'm not sure.
   ·5· · · · Q· · If the Attorney General discovers a
   ·6· ·criminal violation of one of the challenged
   ·7· ·provisions that is within the state attorney's
   ·8· ·jurisdiction, what would the Attorney General do?
   ·9· · · · · · ·MR. FARUQUI:· Object to form.
   10· ·BY MR. FOX:
   11· · · · Q· · Let me reask that question.
   12· · · · A· · Yeah.
   13· · · · Q· · If the Attorney General discovers a
   14· ·violation, a criminal violation of one of the
   15· ·challenged provisions that is within the authority
   16· ·of the state attorneys, what could the Attorney
   17· ·General do?
   18· · · · A· · I'm not sure what she could do.
   19· · · · Q· · Could the Attorney General refer it to a
   20· ·state attorney for prosecution?
   21· · · · A· · I'm not sure of the structure of that.
   22· · · · Q· · Do you know if the Office of Attorney
   23· ·General refers criminal offenses that it learns of
   24· ·to state attorneys?
   25· · · · A· · I'm not sure.


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   ·1· · · · Q· · If the Attorney General believes that a
   ·2· ·state attorney is wrongly refusing to prosecute a
   ·3· ·particular crime among the challenged provisions, is
   ·4· ·there anything the Attorney General can do?
   ·5· · · · A· · I'm not sure.
   ·6· · · · · · ·MR. FOX:· Can you bring back up Exhibit 1,
   ·7· · · · please, Bilal.
   ·8· · · · · · ·MR. FARUQUI:· I got it up.· Is there a
   ·9· · · · particular page?
   10· · · · · · ·MR. FOX:· Please go to page 7 of the PDF,
   11· · · · which is page 4 of the document based on the
   12· · · · page numbers on the document.
   13· · · · · · ·MR. FARUQUI:· We're there.
   14· ·BY MR. FOX:
   15· · · · Q· · Do you see under No. 2, it says, "The
   16· ·office's authority to interpret and enforce Florida
   17· ·election and voting law and actions that have been,
   18· ·will be, or could be taken by the office to
   19· ·interpret or enforce the challenge provisions"?
   20· · · · A· · Yes.
   21· · · · Q· · Did you prepare to testify on behalf of
   22· ·the Office Attorney General, Office of Attorney
   23· ·General about this topic?
   24· · · · A· · Yes.
   25· · · · Q· · What did you do to prepare?


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   ·1· · · · A· · I discussed with my attorneys.
   ·2· · · · Q· · Anything else?
   ·3· · · · A· · No.
   ·4· · · · Q· · Based on that preparation, you don't know
   ·5· ·if the Office of Attorney General has any authority
   ·6· ·to act if it believes that a state attorney is
   ·7· ·wrongly refusing to prosecute a violation of one of
   ·8· ·the challenged provisions?
   ·9· · · · A· · Can you repeat that?
   10· · · · Q· · Yes.
   11· · · · · · ·Based on your preparation on this topic,
   12· ·you don't know whether the Office of Attorney
   13· ·General has any authority to take action if the
   14· ·Attorney General believes a state attorney is
   15· ·wrongly refusing to prosecute a violation of one of
   16· ·the challenged provisions?
   17· · · · A· · Yes, I'm not sure.
   18· · · · Q· · And you don't know under what
   19· ·circumstances the Office of Attorney General has
   20· ·authority to issue an interpretation of the
   21· ·challenged provisions?
   22· · · · · · ·MR. FARUQUI:· Object to form.
   23· · · · A· · Can you repeat that?
   24· ·BY MR. FOX:
   25· · · · Q· · Do you know based on your preparation


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   ·1· ·under what circumstances the Office of Attorney
   ·2· ·General has the authority to issue an interpretation
   ·3· ·of the challenged provisions?
   ·4· · · · A· · Yeah.· I -- we do not issue the opinions
   ·5· ·on that.· If someone asks, it needs to be within the
   ·6· ·scope of their duties.
   ·7· · · · Q· · But there are officials for whom the
   ·8· ·challenged provisions are within the scope of their
   ·9· ·duties, right?
   10· · · · A· · Yes.· I mean, we have it listed out as to
   11· ·who and what can ask, so yes, I'm not sure as to if
   12· ·we could or couldn't.
   13· · · · Q· · So to be clear, you're not -- you don't
   14· ·know under what circumstances the Attorney General's
   15· ·office might issue an opinion as to the meaning of
   16· ·any of the challenged provisions?
   17· · · · A· · Correct.
   18· · · · Q· · And you don't know whether any opinion
   19· ·that was issued would or would not be binding on the
   20· ·official that requested it?
   21· · · · A· · Yes.
   22· · · · · · ·MR. FOX:· You can take down that document.
   23· · · · Thank you.
   24· ·BY MR. FOX:
   25· · · · Q· · Does the Office of Attorney General have


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   ·1· ·any role in receiving allegations of voter fraud?
   ·2· · · · A· · Can you repeat that?
   ·3· · · · Q· · Does the Office of Attorney General have
   ·4· ·any role in receiving allegations of voter fraud?
   ·5· · · · A· · No, unless the case is referred to our
   ·6· ·Office of Statewide Prosecution for a
   ·7· ·multi-jurisdictional criminal case.
   ·8· · · · Q· · If a citizen -- do citizens sometimes
   ·9· ·submit information about alleged voter fraud to the
   10· ·Office of Attorney General?
   11· · · · A· · It could be possible.
   12· · · · Q· · And what does the Office of Attorney
   13· ·General do if that information is submitted?
   14· · · · A· · If it comes in through our citizen
   15· ·services hotline, it would be referred to the
   16· ·correct party, either the supervisor of elections
   17· ·for that county or local law enforcement, because
   18· ·our office --
   19· · · · Q· · Would it ever be referred -- excuse me.
   20· ·Please continue.
   21· · · · A· · I was going to say because our office is
   22· ·not the correct entity for those complaints.
   23· · · · Q· · When the office receives complaints like
   24· ·that, does the office do any investigation of those
   25· ·complaints?


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   ·1· · · · A· · Unless it is referred back to our office
   ·2· ·for the statewide prosecutor to review if it was a
   ·3· ·multi-jurisdictional criminal case, that is when we
   ·4· ·would do a review.
   ·5· · · · Q· · Other than that circumstance involving the
   ·6· ·Office of Statewide Prosecution, if the office
   ·7· ·receives information about alleged voter fraud, does
   ·8· ·the office do any investigation of that information?
   ·9· · · · A· · I'm not sure.
   10· · · · Q· · Let me try to ask that more concretely.
   11· · · · · · ·If a citizen submits to your tip line
   12· ·information about alleged voter fraud and your
   13· ·office refers it to someone else, does your office
   14· ·do an investigation before referring it?
   15· · · · A· · No.· It is -- they are sent to, like I
   16· ·said, the correct entity, whether it be in the
   17· ·supervisor of elections or a local law enforcement.
   18· · · · Q· · And what I'm trying to understand --
   19· · · · A· · They would need -- sorry -- it would
   20· ·need --
   21· · · · Q· · Excuse me.
   22· · · · A· · Sorry.· It would need to be referred back
   23· ·to our office if there was, from the supervisor of
   24· ·elections or law enforcement or a state attorney, if
   25· ·it was shown to be a multi-jurisdictional case, we


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   ·1· ·would do the investigation then, or we could.
   ·2· · · · Q· · I want to ask you briefly about the 2020
   ·3· ·elections in Florida.
   ·4· · · · · · ·Are you aware there were three elections
   ·5· ·in Florida in 2020?
   ·6· · · · · · ·MR. FARUQUI:· Object to form.
   ·7· · · · A· · Yes.
   ·8· ·BY MR. FOX:
   ·9· · · · Q· · Does the Office of Attorney General follow
   10· ·the progress of those elections?
   11· · · · · · ·MR. FARUQUI:· Object to form.
   12· · · · A· · No, we do not personally monitor them.
   13· ·BY MR. FOX:
   14· · · · Q· · Does the Office of Attorney General assess
   15· ·after the fact whether those elections were
   16· ·successful or not?
   17· · · · A· · No.· We do not administer elections.
   18· · · · Q· · Does the Office of Attorney General have
   19· ·any view on whether the 2020 elections in Florida
   20· ·were successful?
   21· · · · · · ·MR. FARUQUI:· Object to form.
   22· · · · A· · No.· We don't administer elections, we
   23· ·rely on what elections officials have told us that
   24· ·the elections results were secure.
   25


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   ·1· ·BY MR. FOX:
   ·2· · · · Q· · The Secretary of State is principally
   ·3· ·responsible for conducting elections in Florida,
   ·4· ·right --
   ·5· · · · · · ·MR. FARUQUI:· Object to form.
   ·6· ·BY MR. FOX:
   ·7· · · · Q· · -- at the state level?
   ·8· · · · A· · Correct.
   ·9· · · · Q· · If the Secretary of State's office
   10· ·concluded that the 2020 elections were successful,
   11· ·safe, and secure, is there any reason that the
   12· ·Office of Attorney General would disagree?
   13· · · · A· · No.· We base it off of what elections
   14· ·officials in the state say.
   15· · · · Q· · I've asked you some questions already this
   16· ·morning about Senate Bill 90, right?
   17· · · · A· · Yes.
   18· · · · Q· · And is the office -- did the Office of
   19· ·Attorney General generally follow the introduction
   20· ·of Senate Bill 90 in the Florida legislature?
   21· · · · · · ·MR. FARUQUI:· Object to form.
   22· · · · A· · No.
   23· ·BY MR. FOX:
   24· · · · Q· · Are you aware of a bill called House Bill
   25· ·7041?


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   ·1· · · · A· · No.
   ·2· · · · Q· · Did the Office of Attorney General have
   ·3· ·any role in shaping Senate Bill 90 as it was
   ·4· ·considered by the Florida legislature?
   ·5· · · · A· · No.
   ·6· · · · Q· · Did any legislator consult with the Office
   ·7· ·of Attorney General regarding Senate Bill 90 before
   ·8· ·that legislation was enacted?
   ·9· · · · A· · No.
   10· · · · Q· · Did the Office of Attorney General take
   11· ·any position on Senate Bill 90 before that
   12· ·legislation was enacted?
   13· · · · A· · No.
   14· · · · Q· · Did the Office of Attorney General hear
   15· ·from supervisors of elections about Senate Bill 90
   16· ·before Senate Bill 90 was enacted?
   17· · · · A· · Not that I'm aware of.
   18· · · · Q· · Did the Office of Attorney General hear
   19· ·from members of the public about Senate Bill 90
   20· ·before Senate Bill 90 was enacted?
   21· · · · A· · Not that I'm aware of.
   22· · · · Q· · Did the Office of Attorney General
   23· ·communicate with anyone about Senate Bill 90 while
   24· ·it was being considered by the legislature?
   25· · · · A· · Not that I'm aware of.


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   ·1· · · · Q· · Is it possible in Florida for legislators
   ·2· ·to request opinions from the Office of Attorney
   ·3· ·General about draft or proposed legislation?
   ·4· · · · A· · No.
   ·5· · · · Q· · And I, therefore, assume that no
   ·6· ·legislator asked for an opinion from the Office of
   ·7· ·Attorney General about Senate Bill 90 while it was
   ·8· ·being considered?
   ·9· · · · A· · Not that I'm aware of.
   10· · · · Q· · Has anyone asked for an opinion from the
   11· ·Office of Attorney General about Senate Bill 90
   12· ·since it's been enacted?
   13· · · · · · ·MR. FARUQUI:· I'm going to object to any
   14· · · · joint common interest privileged conversations
   15· · · · between the defendants.
   16· · · · · · ·MR. FOX:· That's fair.· Let me rephrase my
   17· · · · question.
   18· ·BY MR. FOX:
   19· · · · Q· · Earlier you mentioned a formal opinion
   20· ·issuing process within the Office of Attorney
   21· ·General, right?
   22· · · · A· · Yes.
   23· · · · Q· · Specifically with respect to that formal
   24· ·process of issuing formal opinions, has anyone
   25· ·requested a formal opinion from the Office of


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   ·1· ·Attorney General about Senate Bill 90 since Senate
   ·2· ·Bill 90 was enacted?
   ·3· · · · A· · No.
   ·4· · · · Q· · Has the Office of Attorney General done
   ·5· ·any analysis on the effects of Senate Bill 90 on
   ·6· ·voting in Florida?
   ·7· · · · A· · No.
   ·8· · · · Q· · Any analysis on the effects of Senate
   ·9· ·Bill 90 on black or Latino voters specifically?
   10· · · · A· · No, not that I'm aware of.
   11· · · · Q· · Has the Office of Attorney General done
   12· ·any analysis on the costs of Senate Bill 90?
   13· · · · A· · No, not that I'm aware of.
   14· · · · Q· · Has the Office of Attorney General
   15· ·reviewed any information on the effects of Senate
   16· ·Bill 90 on voting in Florida?
   17· · · · · · ·MR. FARUQUI:· I'm going to object to the
   18· · · · extent any work product after the litigation
   19· · · · would fall under this question and instruct the
   20· · · · witness not to answer about that.
   21· · · · · · ·MR. FOX:· I'll rephrase the question.
   22· ·BY MR. FOX:
   23· · · · Q· · Has the Office of Attorney General,
   24· ·outside of any work product in this litigation,
   25· ·reviewed any information on the effects of voting --


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   ·1· ·on the effects of Senate Bill 90 on voting in
   ·2· ·Florida?
   ·3· · · · A· · Can you say it one more time?
   ·4· · · · Q· · Yes.
   ·5· · · · · · ·Aside from any work product in this
   ·6· ·litigation, has the Office of Attorney General
   ·7· ·reviewed any information about the effects of Senate
   ·8· ·Bill 90 on voting in Florida?
   ·9· · · · A· · No, not that I'm aware.
   10· · · · Q· · And aside from any work product in this
   11· ·litigation, has the Office of Attorney General
   12· ·reviewed any information on the effects of Senate
   13· ·Bill 90 on black or Latino voters specifically?
   14· · · · A· · No, not that I'm aware of.
   15· · · · Q· · And aside from any work product in this
   16· ·litigation, has the Office of Attorney General
   17· ·reviewed any information on the costs resulting from
   18· ·Senate Bill 90?
   19· · · · A· · I believe the Florida Elections Commission
   20· ·had sent us some -- a request for more money if this
   21· ·went through, but that was prior.
   22· · · · Q· · What is the Florida Elections Commission?
   23· · · · A· · It is -- it's -- it's housed within the
   24· ·office in the -- in the budget sense.· And during
   25· ·the legislative process, they had requested some


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   ·1· ·more funds if it were to go through.· So I'm not
   ·2· ·sure if that would be applicable to what you're
   ·3· ·asking.
   ·4· · · · Q· · So the Florida Elections Commission is
   ·5· ·within the Office of Attorney General?
   ·6· · · · · · ·MR. FARUQUI:· Object to form.
   ·7· · · · A· · I don't -- no, not within -- I don't
   ·8· ·believe the structure is.
   ·9· ·BY MR. FOX:
   10· · · · Q· · So I think -- I'm just trying to
   11· ·understand your prior answer.· I think you said that
   12· ·the office, the Florida Elections Commission
   13· ·requested additional funding from the Office of
   14· ·Attorney General if Senate Bill 90 were to be
   15· ·passed.· And I am trying to understand why that
   16· ·would happen.
   17· · · · A· · Not from us.· In the budget sense, they
   18· ·are -- I'm -- I'm not sure as to how they're
   19· ·attached, but it would have had to go through the
   20· ·budgetary process.· So not funds directly from us.
   21· ·It would be from general revenue.
   22· · · · Q· · Does the Attorney General have any
   23· ·authority over the Florida Elections Commission?
   24· · · · A· · Not that I'm aware of.
   25· · · · Q· · The Florida Elections Commission does not


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   ·1· ·report to the Attorney General?
   ·2· · · · A· · Correct.
   ·3· · · · Q· · Aside from this request for additional
   ·4· ·funds from the Florida Elections Commission, did the
   ·5· ·Florida attorney general's office review any
   ·6· ·information on the costs of Senate Bill 90?
   ·7· · · · A· · No, not that I'm aware of.
   ·8· · · · Q· · Do you know why the Florida Elections
   ·9· ·Commission thought that -- or what the basis was for
   10· ·the Florida Elections Commission's request for
   11· ·additional money if Senate Bill 90 was passed?
   12· · · · A· · No.· I'm just generally aware that there
   13· ·was an e-mail in the production.· I would have to
   14· ·see it for specifics.
   15· · · · Q· · Okay.· Are you familiar generally with
   16· ·vote by mail in Florida?
   17· · · · A· · Generally.
   18· · · · Q· · Vote by mail has become more common in
   19· ·Florida in the last several election cycles, right?
   20· · · · A· · Right, I'm not one to say.
   21· · · · Q· · Does the Office of Attorney General have
   22· ·an opinion on vote by mail in Florida?
   23· · · · · · ·MR. FARUQUI:· Object to form.
   24· ·BY MR. FOX:
   25· · · · Q· · Yeah.· Let me clarify that question.


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   ·1· · · · · · ·Does the Office of Attorney General have a
   ·2· ·view on whether vote by mail in Florida is secure?
   ·3· · · · A· · No.· We do not administer elections or
   ·4· ·that, so we have not issued one that I'm aware of.
   ·5· · · · Q· · And aside from any formal opinion, does
   ·6· ·the Office of Attorney General just have a view in
   ·7· ·the everyday sense on whether vote by mail in
   ·8· ·Florida is secure?
   ·9· · · · · · ·MR. FARUQUI:· Object to form.
   10· · · · A· · No, not that I'm aware of.
   11· ·BY MR. FOX:
   12· · · · Q· · Does the Office of Attorney General have a
   13· ·view on whether vote by mail was secure specifically
   14· ·in the 2020 election in Florida?
   15· · · · A· · No.· We don't administer that, so we rely
   16· ·on what other election officials have told us, that
   17· ·it was secure.
   18· · · · Q· · Do you know what a drop box is in the
   19· ·context of elections in Florida?
   20· · · · A· · Yes.
   21· · · · Q· · Does the Office of Attorney General have a
   22· ·view on whether drop boxes for the return of
   23· ·vote-by-mail ballots are secure?
   24· · · · A· · No.· We don't administer those either, so
   25· ·we, once again, rely on election officials and what


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   ·1· ·they have said, that they are secure.
   ·2· · · · Q· · Has the Office of Attorney General done
   ·3· ·any prosecutions related to drop boxes in 2020?
   ·4· · · · A· · Not that I'm aware of.
   ·5· · · · Q· · Any before 2020 that you're aware of?
   ·6· · · · A· · No, not that I can -- am aware of.
   ·7· · · · Q· · Do you know how Senate Bill 90 affects
   ·8· ·drop boxes?
   ·9· · · · A· · I mean, from what it says in the bill,
   10· ·that's the extent that our office has interpreted it
   11· ·or reviewed it.
   12· · · · Q· · You're aware that Senate Bill 90 changed
   13· ·the rules around the monitoring of drop boxes?
   14· · · · A· · Yes.
   15· · · · Q· · Changed the rules around the time when
   16· ·certain drop boxes may be open for the delivery of
   17· ·ballots?
   18· · · · A· · Yes.
   19· · · · Q· · And changed the rules around penalties if
   20· ·the rules for drop boxes are violated?
   21· · · · A· · Yes.
   22· · · · Q· · Does the Office of Attorney General have
   23· ·an understanding as to why those changes were made?
   24· · · · · · ·MR. FARUQUI:· Let me object to the extent
   25· · · · this would be covering work product after the


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   ·1· · · · litigation.· But the witness may answer to any
   ·2· · · · knowledge before litigation.
   ·3· · · · A· · So can you repeat that?
   ·4· ·BY MR. FOX:
   ·5· · · · Q· · Does the Office of Attorney General have
   ·6· ·an understanding of why the changes that Senate
   ·7· ·Bill 90 made to drop boxes were made?
   ·8· · · · A· · No, not that I am aware of.· We would --
   ·9· ·we don't administer them or file -- or, you know,
   10· ·legislation, so we would rely on the intent of the
   11· ·legislature.
   12· · · · Q· · Does the Office of Attorney General have a
   13· ·view on what State interests those changes to drop
   14· ·boxes would serve?
   15· · · · · · ·MR. FARUQUI:· Same objection.
   16· · · · A· · No.· We would rely on the legislature or
   17· ·other involved parties for the intent or the State
   18· ·interest that they felt to pass the bill.
   19· ·BY MR. FOX:
   20· · · · Q· · The Office of Attorney General did not
   21· ·request that any of those changes to drop boxes be
   22· ·made, right?
   23· · · · A· · No, not that I am aware of.
   24· · · · Q· · Are you familiar with how Senate Bill 90
   25· ·affected the period for which vote-by-mail requests


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   ·1· ·are valid and enforced?
   ·2· · · · A· · Yes.
   ·3· · · · Q· · Does the Office of Attorney General have a
   ·4· ·view on the wisdom of that change?
   ·5· · · · · · ·MR. FARUQUI:· Same objection.
   ·6· · · · · · ·MR. FOX:· About -- just to be clear, about
   ·7· · · · the work product?
   ·8· · · · · · ·MR. FARUQUI:· Yes.· If you -- if you'd
   ·9· · · · like we can just make a standing objection as
   10· · · · to having her answer anything, you know, after
   11· · · · the litigation started.· Is that fine?
   12· · · · · · ·MR. FOX:· No.· I'd actually prefer that
   13· · · · you object specifically to questions so I know
   14· · · · where I finish it.
   15· · · · · · ·MR. FARUQUI:· That's fine.
   16· · · · A· · So can you repeat that?
   17· ·BY MR. FOX:
   18· · · · Q· · Yes.
   19· · · · · · ·Does the Office of Attorney General have a
   20· ·view on the wisdom of the changes that Senate
   21· ·Bill 90 made to the period for which vote-by-mail
   22· ·ballots are valid?
   23· · · · · · ·MR. FARUQUI:· Object to the extent work
   24· · · · product is implicated.
   25· · · · A· · No, not that I'm aware of.


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   ·1· ·BY MR. FOX:
   ·2· · · · Q· · Are you aware of any complaints that the
   ·3· ·Office of Attorney General received about the
   ·4· ·duration of vote-by-mail ballot requests before
   ·5· ·Senate Bill 90?
   ·6· · · · A· · No.
   ·7· · · · Q· · Are you aware of any prosecutions by the
   ·8· ·Office of Attorney General relating to the validity
   ·9· ·period for vote-by-mail ballot requests before
   10· ·Senate Bill 90?
   11· · · · A· · No, not that I'm aware of.
   12· · · · Q· · Is the Office of Attorney General aware of
   13· ·any problems caused by the prior period for which
   14· ·vote-by-mail ballot requests were valid?
   15· · · · A· · No, not that I'm aware of.· We don't
   16· ·administer that.
   17· · · · Q· · Does the Office of Attorney General have a
   18· ·view on what State interests, if any, are served by
   19· ·Senate Bill 90's changes to the vote-by-mail ballot
   20· ·validity period?
   21· · · · · · ·MR. FARUQUI:· Object to the extent work
   22· · · · product is implicated.
   23· · · · A· · No, we don't.· We rely on the
   24· ·legislator -- the legislature and any other election
   25· ·officials for what State interests would be.


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   ·1· ·BY MR. FOX:
   ·2· · · · Q· · Do you know what a third-party voter
   ·3· ·registration organization is?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · What is a third-party voter registration
   ·6· ·organization?
   ·7· · · · A· · A group who is -- who gets other people to
   ·8· ·register.· I don't -- I guess solicitation of
   ·9· ·voters.
   10· · · · Q· · Does the Office of Attorney General have a
   11· ·role in regulating third-party voter registration
   12· ·organizations?
   13· · · · A· · No, not that I'm aware of.
   14· · · · Q· · Does the Office of Attorney General
   15· ·receive complaints about third-party voter
   16· ·registration organizations?
   17· · · · A· · There may have been some in discovery
   18· ·produced.· I can't remember details.
   19· · · · Q· · If the Office of Attorney General does not
   20· ·have a role in regulating third-party voter
   21· ·registration organizations, what does it do if it
   22· ·receives complaints about third-party voter
   23· ·registration organizations?
   24· · · · A· · I'm sorry.· Can you say it one more time?
   25· · · · Q· · Yeah.· Let me -- let me ask a simpler


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   ·1· ·question.
   ·2· · · · · · ·If the Office of Attorney General receives
   ·3· ·complaints about third-party voter registration
   ·4· ·organizations, does it forward them to the Secretary
   ·5· ·of State?
   ·6· · · · A· · I would say either the Secretary of State
   ·7· ·or supervisor of elections if it comes through our
   ·8· ·hotline.
   ·9· · · · Q· · The Office of Attorney General wouldn't
   10· ·investigate those complaints?
   11· · · · A· · Not that I'm aware of.
   12· · · · Q· · Are you familiar with the rules that apply
   13· ·to third-party voter registration organizations
   14· ·before Senate Bill 90?
   15· · · · A· · No.
   16· · · · Q· · Are you aware of the options that were
   17· ·available to enforce deadlines applicable to
   18· ·third-party voter registration organizations before
   19· ·Senate Bill 90 was enacted?
   20· · · · A· · Sorry.· Can you repeat that?
   21· · · · Q· · Yes.
   22· · · · · · ·Are you aware of the options that were
   23· ·available to enforce deadlines on voter registration
   24· ·forms before Senate Bill 90 was enacted?
   25· · · · A· · No.


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   ·1· · · · Q· · Does the Office of Attorney General have a
   ·2· ·view on whether the enforcement mechanisms
   ·3· ·applicable to third-party voter registration
   ·4· ·organizations were adequate before the enactment of
   ·5· ·Senate Bill 90?
   ·6· · · · · · ·MR. FARUQUI:· Object to the extent work
   ·7· · · · product is implicated.
   ·8· · · · A· · No, not that I'm aware.
   ·9· ·BY MR. FOX:
   10· · · · Q· · The Office of Attorney General did not
   11· ·request any changes to the regulation of third-party
   12· ·voter registration organizations; is that right?
   13· · · · A· · No, we did not.
   14· · · · Q· · Does the Office of Attorney General have a
   15· ·view on what state interests, if any, are served by
   16· ·Senate Bill 90's changes to the rules governing
   17· ·third-party voter registration organizations?
   18· · · · · · ·MR. FARUQUI:· Object to the extent work
   19· · · · product is implicated.
   20· · · · A· · No.· We don't pass the legislation, so we
   21· ·rely on the legislators and other election officials
   22· ·to tell us what the interest would be or the
   23· ·legislative intent.
   24· ·BY MR. FOX:
   25· · · · Q· · Has the Office of Attorney General done


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   ·1· ·any analysis of other ways of serving the goals of
   ·2· ·Senate Bill 90's changes to the rules applicable to
   ·3· ·third-party voter registration organizations?
   ·4· · · · · · ·MR. FARUQUI:· Object to form.
   ·5· · · · A· · No, not that I'm aware of.
   ·6· ·BY MR. FOX:
   ·7· · · · Q· · You're aware that one of the changes
   ·8· ·Senate Bill 90 makes to third-party voter
   ·9· ·registration organizations is to require that they
   10· ·recite a warning to potential voters who may
   11· ·register with them?
   12· · · · · · ·MR. FARUQUI:· Object to form.
   13· · · · A· · Yes.
   14· ·BY MR. FOX:
   15· · · · Q· · Does the Office of Attorney General have a
   16· ·view on whether that required warning does anything
   17· ·to prevent fraud specifically?
   18· · · · · · ·MR. FARUQUI:· Object to the extent work
   19· · · · product is implicated.
   20· · · · A· · No.· That would -- not that I'm aware of.
   21· ·BY MR. FOX:
   22· · · · Q· · Before the enactment of Senate Bill 90, do
   23· ·you agree that individuals were generally permitted
   24· ·to collect vote-by-mail ballots as long as they were
   25· ·not being paid to do so?


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   ·1· · · · A· · I'm sorry.· Can you say that...
   ·2· · · · Q· · Yes.
   ·3· · · · · · ·Before Senate Bill 90, were individuals
   ·4· ·generally permitted to collect vote-by-mail ballots
   ·5· ·as long as they were not being paid to do so?
   ·6· · · · A· · I'm not sure.
   ·7· · · · Q· · Are you familiar with the rules that
   ·8· ·govern possession of vote-by-mail ballots in Florida
   ·9· ·before the enactment of Senate Bill 90?
   10· · · · A· · Generally aware.
   11· · · · Q· · And do you know whether those rules
   12· ·allowed a volunteer to possess multiple vote-by-mail
   13· ·ballots?
   14· · · · A· · No.
   15· · · · Q· · Let me try it this way.· How did Senate
   16· ·Bill 90, in your understanding, change the rules
   17· ·applicable to the possession of vote-by-mail
   18· ·ballots?
   19· · · · A· · That it changed that they could not have
   20· ·more than one?· Is that what you're asking?
   21· · · · Q· · I'm asking how Senate Bill 90 changed the
   22· ·rules applicable to the possession of vote-by-mail
   23· ·ballots?
   24· · · · A· · I'm not sure.
   25· · · · Q· · Do you have an understanding that Senate


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   ·1· ·Bill 90 did change the rules applicable to the
   ·2· ·possession of vote-by-mail ballots?
   ·3· · · · A· · Yes.
   ·4· · · · Q· · After Senate Bill 90, is a volunteer
   ·5· ·allowed to possess three vote-by-mail ballots that
   ·6· ·do not belong to immediate family members?
   ·7· · · · A· · I don't know.
   ·8· · · · Q· · Before Senate Bill 90, was a volunteer
   ·9· ·allowed to possess three vote-by-mail ballots that
   10· ·do not belong to immediate family members?
   11· · · · A· · I'm not sure.
   12· · · · Q· · Does the Office of Attorney General have
   13· ·any view on whether the changes that Senate Bill 90
   14· ·made to the rules governing the possession of
   15· ·vote-by-mail ballots were necessary?
   16· · · · · · ·MR. FARUQUI:· Object to the extent work
   17· · · · product is implicated.
   18· · · · A· · No, not that I'm aware of.
   19· ·BY MR. FOX:
   20· · · · Q· · Is the Office of Attorney General aware of
   21· ·any problems caused by a volunteer's possession of
   22· ·multiple vote-by-mail ballots in Florida in 2020?
   23· · · · · · ·MR. FARUQUI:· Object to the extent work
   24· · · · product is implicated.
   25· · · · A· · Not that I'm aware of.


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   ·1· ·BY MR. FOX:
   ·2· · · · Q· · And outside of any work product produced
   ·3· ·in this litigation, is the Office of Attorney
   ·4· ·General aware of any problems caused by a
   ·5· ·volunteer's possession of multiple vote-by-mail
   ·6· ·ballots in 2018?
   ·7· · · · A· · I'm not sure.
   ·8· · · · Q· · Same question as for 2016?
   ·9· · · · A· · Same answer, I'm not sure.
   10· · · · Q· · Does the Office of Attorney General have a
   11· ·view on what State interests, if any, are served by
   12· ·Senate Bill 90's changes to the rules governing the
   13· ·possession of vote-by-mail ballots?
   14· · · · · · ·MR. FARUQUI:· Object to the extent work
   15· · · · product is implicated.
   16· · · · A· · No.· We don't administer that, so we rely
   17· ·on the legislature and other elected -- or election
   18· ·officials to tell the intent and state interests.
   19· ·BY MR. FOX:
   20· · · · Q· · Are you familiar with the changes that
   21· ·Senate Bill 90 made to the rules governing the area
   22· ·immediately around polling places?
   23· · · · A· · Generally.
   24· · · · Q· · How did Senate Bill 90 change the rules
   25· ·governing the area immediately around polling


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   ·1· ·places?
   ·2· · · · A· · I'm not sure what the exact language said.
   ·3· · · · · · ·MR. FOX:· Well, can you pull up Exhibit 3.
   ·4· · · · · · ·(League Exhibit 3 was marked for
   ·5· · · · identification.)
   ·6· · · · · · ·MR. FARUQUI:· Is it the bill?· I think I
   ·7· · · · have it up.
   ·8· · · · · · ·MR. FOX:· It is the bill.
   ·9· · · · · · ·MR. FARUQUI:· Okay.
   10· · · · · · ·MR. FOX:· I'll put this in the chat, and
   11· · · · mark it as Exhibit 3.
   12· ·BY MR. FOX:
   13· · · · Q· · And just to make sure we're looking at the
   14· ·same document.· At the top of the screen, does it
   15· ·say "Chapter 2021-11"?
   16· · · · A· · Yes.
   17· · · · Q· · Have you seen this before?
   18· · · · A· · Not -- I'm not sure if it was this exact
   19· ·document, but I've seen Senate Bill 90.
   20· · · · Q· · And did you review Senate Bill 90 in
   21· ·preparation for this deposition?
   22· · · · A· · Yes, I reviewed it.
   23· · · · · · ·MR. FOX:· Could you turn to pages 24 and
   24· · · · 25 of this document, which -- so start out
   25· · · · towards the bottom of page 24.· What I want on


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   ·1· · · · the screen, Bilal, is Subsection B, which runs
   ·2· · · · from page 24 to 25.
   ·3· · · · · · ·MR. FARUQUI:· On page 24 --
   ·4· · · · · · ·MR. FOX:· At the very bottom.
   ·5· · · · · · ·MR. FARUQUI:· I got -- I got it.· Thank
   ·6· · · · you.· Yeah, I looked at the wrong B.
   ·7· ·BY MR. FOX:
   ·8· · · · Q· · Do you see here under Subsection B a
   ·9· ·paragraph that begins "For the purpose of this
   10· ·subsection" and then continues on to the next page?
   11· · · · A· · Yes.
   12· · · · Q· · And on -- well, let me start here.
   13· · · · · · ·Looking at this document, do you see that
   14· ·some words are crossed out and some words are
   15· ·underlined?
   16· · · · A· · Yes.
   17· · · · Q· · And is it your understanding that the
   18· ·words that are crossed out are words that Senate
   19· ·Bill 90 removed from this statute?
   20· · · · A· · Correct.
   21· · · · Q· · And the words that are underlined are
   22· ·words that Senate Bill 90 added to this statute?
   23· · · · A· · Yes.
   24· · · · Q· · So do you see that Senate Bill 90 added to
   25· ·the statute the words "and engaging in any activity


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   ·1· ·with the intent to influence or effect of
   ·2· ·influencing a voter"?
   ·3· · · · A· · Yes.
   ·4· · · · Q· · And that is in addition to the definition
   ·5· ·of solicit or solicitation, right?
   ·6· · · · A· · Yes.
   ·7· · · · Q· · Does the Office of Attorney General have
   ·8· ·an understanding of how that change to this
   ·9· ·subsection affected the definition of the term
   10· ·"solicit" or "solicitation"?
   11· · · · · · ·MR. FARUQUI:· Object to the extent work
   12· · · · product is implicated.
   13· · · · A· · No.· Only to the extent of what the bill
   14· ·says that it does.
   15· ·BY MR. FOX:
   16· · · · Q· · Has anyone asked the Office of Attorney
   17· ·General for an opinion, a formal opinion, on the
   18· ·effect of this language on the definition of solicit
   19· ·or solicitation?
   20· · · · A· · No.
   21· · · · Q· · Could anyone in Florida state government
   22· ·ask the Office of Attorney General for a formal
   23· ·opinion on the effect of this change on the
   24· ·definition of solicit or solicitation?
   25· · · · A· · I'm not sure.


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   ·1· · · · Q· · If such an opinion could be requested,
   ·2· ·would it be binding on the official who requested
   ·3· ·it?
   ·4· · · · A· · I'm not sure.
   ·5· · · · Q· · Do you have -- "you," the Office of
   ·6· ·Attorney General, have any understanding of how
   ·7· ·specifically the addition of this phrase that I read
   ·8· ·before changes the scope of the prohibition on
   ·9· ·solicitation?
   10· · · · · · ·MR. FARUQUI:· Object to the extent work
   11· · · · product is implicated.
   12· · · · A· · Can you say that again?
   13· ·BY MR. FOX:
   14· · · · Q· · Yeah.
   15· · · · · · ·Does the Office of Attorney General have
   16· ·any understanding, outside of work product in this
   17· ·litigation, as to how the addition of this phrase to
   18· ·this definition changes the scope of what
   19· ·solicitation is prohibited?
   20· · · · A· · Outside of what this language says or what
   21· ·the legislative intent was from the legislature, not
   22· ·that I am aware of.
   23· · · · Q· · Does the Office of Attorney General have
   24· ·an understanding, aside from any work product in
   25· ·this litigation, as to whether this addition of a


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   ·1· ·phrase in this definition did change the scope of
   ·2· ·solicitation that is prohibited?
   ·3· · · · A· · Not that I'm aware of.
   ·4· · · · Q· · And to your knowledge and the knowledge of
   ·5· ·the Office of Attorney General, no one has requested
   ·6· ·an interpretation from the Office of Attorney
   ·7· ·General outside of this litigation on the meaning of
   ·8· ·this new definition?
   ·9· · · · A· · You said to my knowledge?
   10· · · · Q· · And the knowledge of the OAG.
   11· · · · A· · Yes, I don't believe so.
   12· · · · Q· · Does the Office of Attorney General have
   13· ·an opinion on what State interests, if any, are
   14· ·served by this amendment to the definition of
   15· ·solicit or solicitation?
   16· · · · · · ·MR. FARUQUI:· Object to the extent work
   17· · · · product is implicated.
   18· · · · A· · No.· We would rely on the legislature and
   19· ·other election officials to let us know the State
   20· ·interests.
   21· ·BY MR. FOX:
   22· · · · Q· · The Office of Attorney General did not
   23· ·request this change to this definition?
   24· · · · A· · No.
   25· · · · · · ·MR. FOX:· We've been going for about an


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   ·1· · · · hour.· I think now would be a good time to take
   ·2· · · · a short break.· I have a slightly different
   ·3· · · · line of questions.
   ·4· · · · · · ·MR. FARUQUI:· Okay.
   ·5· · · · · · ·(A recess took place from· 10:36 a.m. to
   ·6· · · · 10:45 a.m.)
   ·7· ·BY MR. FOX:
   ·8· · · · Q· · Just a few more questions about the
   ·9· ·third-party voter registration organizations
   10· ·provisions in Senate Bill 90.
   11· · · · · · ·Do you recall we were talking about those
   12· ·earlier?
   13· · · · A· · Yes.
   14· · · · Q· · Does the Office of Attorney General have
   15· ·the authority to enforce the requirement that
   16· ·third-party voter registration organizations issue a
   17· ·warning to potential voters?
   18· · · · A· · I'm not sure of the specifics.· I'd have
   19· ·to look at the language.
   20· · · · Q· · Are you familiar with the term "voter
   21· ·fraud"?
   22· · · · A· · Yes.
   23· · · · Q· · What does the term "voter fraud" mean to
   24· ·you?
   25· · · · A· · It's kind of a broad definition of any


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   ·1· ·fraudulent activity relating to voting in an
   ·2· ·election.
   ·3· · · · Q· · And does the phrase "unlawful voting
   ·4· ·conduct" have a meaning to you?
   ·5· · · · A· · Generally.
   ·6· · · · Q· · And what generally does it mean to you?
   ·7· · · · A· · Any unlawful activity, so illegal activity
   ·8· ·relating to it.
   ·9· · · · Q· · And "it" being voting?
   10· · · · A· · Yes.
   11· · · · Q· · Does the Office of Attorney General ever
   12· ·receive voter fraud complaints?
   13· · · · A· · I believe -- I mean, I'll have to look
   14· ·back through specifics but, yes, we have, I'm sure.
   15· · · · Q· · And when you receive those complaints,
   16· ·what does the Office of Attorney General do with
   17· ·them?
   18· · · · A· · Same as mentioned before, we would refer
   19· ·the complaints out to the supervisor of elections
   20· ·office or local law enforcement.· If -- if it was a
   21· ·multi-jurisdictional criminal activity that was
   22· ·referred to our statewide prosecution, they could
   23· ·handle it; but if it's a constituent complaint,
   24· ·that's when it would be referred to the other
   25· ·divisions.


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   ·1· · · · Q· · And for those complaints that are referred
   ·2· ·to the other divisions, does the Office of Attorney
   ·3· ·General do any investigation of its own?
   ·4· · · · A· · If a case was referred to us, we would
   ·5· ·investigate, from either, I guess, the Secretary of
   ·6· ·State or if it's a multi-jurisdictional criminal
   ·7· ·activity, then we would.
   ·8· · · · Q· · Under what circumstances would a case be
   ·9· ·referred to the Office of Attorney General by the
   10· ·Secretary of State?
   11· · · · · · ·MR. FARUQUI:· Objection.· Calls for
   12· · · · speculation.
   13· ·BY MR. FOX:
   14· · · · Q· · Let me clarify my question.· I'm not
   15· ·asking for like discretionary determinations.                I
   16· ·just want to understand sort of the requirements --
   17· ·well, let me -- let me start over.
   18· · · · · · ·Has the Secretary of State ever referred
   19· ·voter fraud complaints to the Office of Attorney
   20· ·General?
   21· · · · A· · I'm not sure if that was in the discovery
   22· ·or not.
   23· · · · Q· · Aside from what was or wasn't in the
   24· ·discovery, has the Secretary of State ever referred
   25· ·voter fraud complaints to the Attorney General's


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   ·1· ·office?
   ·2· · · · A· · I can't speak to -- or I'm not sure of
   ·3· ·specifics.
   ·4· · · · Q· · I understand that voter fraud complaints
   ·5· ·that involve multi-jurisdictional conduct might get
   ·6· ·referred to the Attorney General's office of
   ·7· ·Statewide Prosecution, right?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · Could voter fraud complaints that do not
   10· ·involve multi-jurisdictional conduct ever get
   11· ·referred to the Office of Attorney General?
   12· · · · A· · Can you say that again?
   13· · · · Q· · Could election fraud complaints that do
   14· ·not involve multi-jurisdictional criminal conduct
   15· ·ever get referred to the Office of Attorney General?
   16· · · · A· · Third-party voter registration, our civil
   17· ·department has an enforcement role.
   18· · · · Q· · And what is the nature of the civil
   19· ·department's enforcement role concerning third-party
   20· ·voter registration organizations?
   21· · · · A· · I'd have to refer to the statute for the
   22· ·specifics.
   23· · · · Q· · Do you have a general understanding of
   24· ·that role?
   25· · · · A· · Yes.


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   ·1· · · · Q· · What is that general understanding?
   ·2· · · · A· · I know that we can -- we have an
   ·3· ·enforcement aspect and -- if there is a violation of
   ·4· ·the third-party voter registration, if it's referred
   ·5· ·to our office from the Secretary of State.
   ·6· · · · Q· · And if a violation of the third-party
   ·7· ·voter registration requirement is referred to your
   ·8· ·office from the Secretary of State, what can your
   ·9· ·office do?
   10· · · · A· · I'd have to read the language
   11· ·specifically.· It's a civil enforcement.
   12· · · · Q· · Are you familiar with civil enforcement
   13· ·actions that your office has brought against
   14· ·third-party voter registration organizations?
   15· · · · · · ·MR. FARUQUI:· Object to form.
   16· · · · A· · I'm not sure.
   17· ·BY MR. FOX:
   18· · · · Q· · Do you have, does the Office of Attorney
   19· ·General have a view on whether the civil enforcement
   20· ·authority it has against third-party voter
   21· ·registration organizations was sufficient before the
   22· ·adoption of Senate Bill 90?
   23· · · · · · ·MR. FARUQUI:· Objection to the extent work
   24· · · · product is implicated.
   25· · · · A· · Can you, please, say it again?


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   ·1· ·BY MR. FOX:
   ·2· · · · Q· · Yes.
   ·3· · · · · · ·Does the Office of Attorney General have a
   ·4· ·view on whether its civil enforcement authority with
   ·5· ·respect to third-party voter registration
   ·6· ·organizations was sufficient before the adoption of
   ·7· ·Senate Bill 90?
   ·8· · · · · · ·MR. FARUQUI:· Same objection.
   ·9· · · · A· · No, I'm not sure if we have.
   10· ·BY MR. FOX:
   11· · · · Q· · Are you aware of complaints about
   12· ·third-party voter registration organizations before
   13· ·the adoption of Senate Bill 90?
   14· · · · A· · Anything that was produced in the
   15· ·discovery would be what we have prior to this
   16· ·litigation.
   17· · · · Q· · And sitting here, you don't have an
   18· ·understanding of whether that included complaints
   19· ·about third-party voter registration organizations?
   20· · · · A· · I can't recall the details of everything
   21· ·that was in there.
   22· · · · Q· · Do you have an understanding of whether
   23· ·the Office of Attorney General is aware of any
   24· ·incident in which a voter was prevented from voting
   25· ·because of a delay in a third-party voter


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   ·1· ·registration organization's submission of voter
   ·2· ·registration forms?
   ·3· · · · · · ·MR. FARUQUI:· Objection to the extent work
   ·4· · · · product is implicated.
   ·5· · · · A· · Sorry.· Can you say it one more time about
   ·6· ·the delay?
   ·7· ·BY MR. FOX:
   ·8· · · · Q· · Does -- is the Office of Attorney General
   ·9· ·aware of any incident in which a voter was prevented
   10· ·from voting because of a third-party voter
   11· ·registration organization's delay in submitting
   12· ·completed voter registration forms?
   13· · · · · · ·MR. FARUQUI:· Same objection.
   14· · · · A· · Generally.· I don't know the specifics.
   15· ·BY MR. FOX:
   16· · · · Q· · Based on your preparation, you are not
   17· ·aware of any such incident; is that right?
   18· · · · A· · I was made aware of an incident in
   19· ·discovery, but I don't know the specifics of it.
   20· · · · Q· · What incident were you made aware of?
   21· · · · A· · From a supervisor of election saying that
   22· ·they had had an instance of it.
   23· · · · Q· · Which county did that occur?
   24· · · · A· · I can't recall the specifics.
   25· · · · Q· · Do you recall when, what year, or what


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   ·1· ·election?
   ·2· · · · A· · I don't.
   ·3· · · · Q· · Do you recall how many voters were
   ·4· ·affected?
   ·5· · · · A· · No.· I was not made aware of specifics.
   ·6· · · · Q· · Are you aware whether the Office of
   ·7· ·Attorney General took enforcement action as a result
   ·8· ·of that incident?
   ·9· · · · A· · No.
   10· · · · Q· · Is the Office of Attorney General aware of
   11· ·any unlawful voting conduct in 2020 relating to drop
   12· ·boxes?
   13· · · · A· · No, not that I'm aware of.
   14· · · · Q· · How about in 2018?
   15· · · · A· · No, not that I'm aware of.
   16· · · · Q· · Is the Office of Attorney General aware of
   17· ·any unlawful voting conduct in 2020 relating to the
   18· ·possession of multiple vote-by-mail ballots?
   19· · · · A· · Not that I'm aware of.
   20· · · · Q· · How about in 2018?
   21· · · · A· · Not that I'm aware of.
   22· · · · Q· · Is the Office of Attorney General aware of
   23· ·any unlawful voting conduct in 2020 relating to the
   24· ·four-year duration of requests for vote-by-mail
   25· ·ballots?


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   ·1· · · · A· · Not that I'm aware of.
   ·2· · · · Q· · How about in 2018?
   ·3· · · · A· · Not that I'm aware of.
   ·4· · · · Q· · Is the Office of Attorney General aware of
   ·5· ·any unlawful voting conduct relating to assistance
   ·6· ·provided to persons with disabilities in 2020?
   ·7· · · · · · ·MR. FARUQUI:· Object to form.
   ·8· · · · A· · No, not that I'm aware of.
   ·9· ·BY MR. FOX:
   10· · · · Q· · How about in 2018?
   11· · · · A· · No, not that I am aware of.
   12· · · · · · ·MR. FARUQUI:· Same objection.
   13· · · · · · ·MR. FOX:· Ms. Guzzo, thank you very much
   14· · · · for your time.· Those are all the questions I
   15· · · · have for you.· I know that another plaintiff's
   16· · · · group also has questions.
   17· · · · · · ·Before we shift to that, I do just want to
   18· · · · say, Bilal, that I have serious concerns about
   19· · · · the witness's preparation in particular on the
   20· · · · topic of enforcement authority.
   21· · · · · · ·I think Topic 2 clearly covered a lot of
   22· · · · questions for which the witness was not
   23· · · · prepared to answer, including specifically the
   24· · · · enforcement authority for third-party voter
   25· · · · registration organizations.· That's not my only


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   ·1· · · · concern, but it's one of the biggest concerns
   ·2· · · · since the office does have enforcement
   ·3· · · · authority and conceded as much.· So I have to
   ·4· · · · reserve my rights on that.· I am concerned
   ·5· · · · about that.· But I don't have more questions
   ·6· · · · for the witness at this time.
   ·7· · · · · · ·MR. FARUQUI:· Understood.· We can talk
   ·8· · · · about it later.
   ·9· · · · · · ·MS. TARPLEY:· So I do have some additional
   10· · · · questions, but I think some of them have been
   11· · · · covered, so it might be helpful to take a break
   12· · · · so I can review.· Does 20 minutes sound okay?
   13· · · · · · ·MR. FARUQUI:· Sure.· Whatever you need.
   14· · · · · · ·(A recess took place from· 10:57 a.m. to
   15· · · · 11:20 a.m.)
   16· · · · · · · · · · CROSS EXAMINATION
   17· ·BY MS. TARPLEY:
   18· · · · Q· · Well, my name is Carlton Tarpley with
   19· ·Baker McKenzie.· I'm appearing on behalf of
   20· ·plaintiffs in the Harriet Tubman Freedom Fighters
   21· ·case.· I'm just going to ask a couple of questions.
   22· · · · · · ·Similar to Mr. Fox, when I refer to SB 90
   23· ·as enacted or Section 7 of SB 90, I'm referring to
   24· ·Section 7 of SB 90, which is Florida Chapter
   25· ·2021-11.· Is that okay?


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   ·1· · · · A· · Yes.
   ·2· · · · Q· · Great.· And when I say "3PVRO," I'm
   ·3· ·referring to third-party voter registration
   ·4· ·organizations.· Understood?
   ·5· · · · A· · Yes.
   ·6· · · · Q· · Florida Statute, Section 97.0575,
   ·7· ·Subsection (4) states that:· "If the Secretary of
   ·8· ·State reasonably believes that a person has
   ·9· ·committed a violation of this section, the Secretary
   10· ·may refer the matter to the Attorney General for
   11· ·enforcement."
   12· · · · · · ·"The Attorney General may institute a
   13· ·civil action for violation of this section in order
   14· ·to prevent a violation of this section.· An action
   15· ·for relief may include a permanent or temporary
   16· ·injunction, a restraining order, or any other
   17· ·appropriate order."
   18· · · · · · ·I am going refer to this as
   19· ·Subsection (4).· Is that okay?
   20· · · · A· · Yes.
   21· · · · Q· · With respect to Subsection (4), do you
   22· ·know or are you aware of how the Florida Attorney
   23· ·General handles referrals from the Secretary of
   24· ·State?
   25· · · · · · ·MR. FARUQUI:· Object to form.


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   ·1· · · · A· · I'm sorry.· Can you say that again?
   ·2· ·BY MS. TARPLEY:
   ·3· · · · Q· · With respect to Subsection (4), do you
   ·4· ·know how the Florida Attorney General handles
   ·5· ·referrals from the Secretary of State?
   ·6· · · · A· · The cases referred to us, it depends on
   ·7· ·the facts and circumstances of the case for the
   ·8· ·investigation.
   ·9· · · · Q· · What type of facts and circumstances does
   10· ·your office consider?
   11· · · · A· · I'm not aware of the specifics that the
   12· ·civil division investigates.
   13· · · · Q· · Do you know if the office has any
   14· ·documents setting forth procedures or protocols for
   15· ·handling referrals?
   16· · · · A· · I'm not aware.
   17· · · · Q· · Is there an understanding within the
   18· ·office regarding how referrals are handled?
   19· · · · · · ·MR. FARUQUI:· Object to form.
   20· ·BY MS. TARPLEY:
   21· · · · Q· · You may answer the question.
   22· · · · A· · I'm not sure.
   23· · · · Q· · Okay.
   24· · · · A· · I'm not aware of any document or
   25· ·understanding.


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   ·1· · · · Q· · Okay.· And did you produce all documents
   ·2· ·reflecting all actions taken by the AG under
   ·3· ·Subsection (4) from 2012 to present?
   ·4· · · · · · ·MR. FARUQUI:· Object to form.
   ·5· · · · A· · Can you say it one more time, did we
   ·6· ·produce what?
   ·7· ·BY MS. TARPLEY:
   ·8· · · · Q· · All documents reflecting all actions taken
   ·9· ·by the AG under section -- Subsection (4) from 2012
   10· ·to present?
   11· · · · · · ·MR. FARUQUI:· Object to form.
   12· · · · A· · I cannot recall every single document, but
   13· ·to the best of my knowledge, everything was
   14· ·produced.
   15· ·BY MS. TARPLEY:
   16· · · · Q· · I'm not talking about all documents.· I'm
   17· ·just talking about from 2012 to present.
   18· · · · · · ·MS. TARPLEY:· I guess can we pull up what
   19· · · · has been marked as HTFF Exhibit 1.
   20· · · · · · ·MR. FARUQUI:· We've got it up.
   21· · · · · · ·MS. TARPLEY:· Great.· Can we turn to
   22· · · · page 3?
   23· · · · · · ·THE STENOGRAPHER:· Is anyone going to put
   24· · · · it in the chat box for the reporter?
   25· · · · · · ·MS. TARPLEY:· Yes.· I can -- I can e-mail


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   ·1· · · · it.
   ·2· · · · · · ·THE STENOGRAPHER:· Okay.· That will be
   ·3· · · · fine.· At the end?· Yeah, that's fine.
   ·4· · · · · · ·MS. TARPLEY:· Perfect.· Great.
   ·5· · · · · · ·MR. FARUQUI:· We're on page 3.
   ·6· · · · · · ·(HTFF Exhibit 1 was marked for
   ·7· · · · identification.)
   ·8· ·BY MS. TARPLEY:
   ·9· · · · Q· · Okay.· Excuse me.· I'm going to back up a
   10· ·little bit.
   11· · · · · · ·What is this document?
   12· · · · A· · Can I scroll up?· It is the responses to
   13· ·plaintiffs' first set of request for production to
   14· ·defendant Ashley Moody.
   15· · · · Q· · Okay.· And can you turn to Page No. 6,
   16· ·Request for Production No. 12.
   17· · · · A· · Okay.
   18· · · · Q· · And this -- and this reads -- or this
   19· ·request states that -- excuse me.
   20· · · · · · ·This request is for "All documents and
   21· ·communications regarding evidence or incidence of
   22· ·fraud or registration fraud in connection with
   23· ·third-party voter registration organizations,
   24· ·including documents and communications regarding
   25· ·reporting, investigating, identifying, or


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   ·1· ·prosecuting incidences of said fraud."
   ·2· · · · · · ·Your response is "Responsive documents
   ·3· ·have been produced.· See Bates numbers stated in the
   ·4· ·response there."
   ·5· · · · · · ·Do you stand by that answer?
   ·6· · · · A· · Yes.
   ·7· · · · Q· · So did you -- did you produce all
   ·8· ·documents reflecting actions taken by the AG under
   ·9· ·Subsection (4) with respect to third-party voter
   10· ·registration organizations from 2012 to present?
   11· · · · · · ·MR. FARUQUI:· Object to form.
   12· · · · A· · Yes, what we produced there is the
   13· ·responsive documents.
   14· ·BY MS. TARPLEY:
   15· · · · Q· · Has the AG initiated enforcement actions
   16· ·under Subsection (4) against third-party voter
   17· ·registration organizations without a referral from
   18· ·the Secretary?
   19· · · · A· · Not that I'm aware of.
   20· · · · Q· · Okay.· What type of civil actions has the
   21· ·AG pursued with respect to Subsection (4)?
   22· · · · · · ·MR. FARUQUI:· Object to form.
   23· · · · A· · Sorry.· Can you say that again?· What type
   24· ·of civil actions?
   25


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   ·1· ·BY MS. TARPLEY:
   ·2· · · · Q· · -- has the AG pursued with respect to
   ·3· ·Subsection (4)?
   ·4· · · · · · ·MR. FARUQUI:· Same objection.
   ·5· · · · A· · I can't recall specifics.· Anything that
   ·6· ·was responsive to anything we would have received,
   ·7· ·we produced.
   ·8· ·BY MS. TARPLEY:
   ·9· · · · Q· · Okay.· And are you aware of any instances
   10· ·in which the AG has pursued injunctive relief?
   11· · · · A· · No, not that I'm aware of.
   12· · · · Q· · Are you aware of any instances in which
   13· ·the AG has pursued any restraining orders against
   14· ·third-party voter registration organizations?
   15· · · · A· · No, not that I'm aware of.
   16· · · · Q· · Did you produce all civil actions pursued
   17· ·by the AG under Subsection (4) with respect to
   18· ·third-party voter registration organizations that
   19· ·occurred from 2012 to present?
   20· · · · · · ·MR. FARUQUI:· Object to form.
   21· · · · A· · We produced all responsive documents to
   22· ·the -- when requested, so I can't recall specifics
   23· ·of everything.
   24· ·BY MS. TARPLEY:
   25· · · · Q· · Can you confirm whether your office


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   ·1· ·produced all enforcement actions against third-party
   ·2· ·voter registration organizations for returning voter
   ·3· ·registration forms late?
   ·4· · · · A· · I'm sorry, can you repeat that?
   ·5· · · · Q· · Can you confirm today that your office
   ·6· ·produced all enforcement actions against a
   ·7· ·third-party voter registration organization for
   ·8· ·failing to return -- for -- excuse me.· For
   ·9· ·returning voter registration forms late?
   10· · · · A· · Yes, we produced all documents that
   11· ·pertained to the request for production.
   12· · · · Q· · And can you confirm that your office
   13· ·produced all enforcement actions against third-party
   14· ·voter registration organizations for failing to
   15· ·return voter registration forms during the 2012 to
   16· ·present time frame?
   17· · · · A· · Yes, we produced all the documents that
   18· ·were requested in the production.
   19· · · · Q· · With respect to Subsection (4), did the AG
   20· ·pursue any criminal actions from 2012 to present?
   21· · · · · · ·MR. FARUQUI:· Object to form.
   22· · · · A· · No, not that I am aware of.
   23· ·BY MS. TARPLEY:
   24· · · · Q· · Are you aware of any enforcement actions
   25· ·which the AG took with respect to third-party


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   ·1· ·registration, voter registration organizations from
   ·2· ·2012 to present?
   ·3· · · · A· · No, not that I'm aware of.
   ·4· · · · · · ·MS. TARPLEY:· Can we pull up what has been
   ·5· · · · marked as HTFF Exhibit 3.
   ·6· · · · · · ·(HTFF Exhibit 3 was marked for
   ·7· · · · identification.)
   ·8· · · · · · ·MR. FARUQUI:· All right.
   ·9· · · · · · ·MS. TARPLEY:· And we'll refer to this as
   10· · · · Exhibit 5.· Excuse me.· My apologies.· Not HTFF
   11· · · · Exhibit 3.· Can we turn to Exhibit-- no, that's
   12· · · · correct.· I apologize.· HTFF Exhibit 3.
   13· ·BY MS. TARPLEY:
   14· · · · Q· · What is this document?
   15· · · · A· · It says "Responses to plaintiffs' first
   16· ·set of interrogatories to defendant Ashley Moody."
   17· · · · Q· · Okay.
   18· · · · · · ·MS. TARPLEY:· And we'll refer to this as
   19· · · · Exhibit 5.· If you can scroll to page 3 of 7.
   20· · · · · · ·MR. FARUQUI:· Is there a particular
   21· · · · number?
   22· · · · · · ·MS. TARPLEY:· Number 5.
   23· · · · · · ·MR. FARUQUI:· We're there.
   24· ·BY MS. TARPLEY:
   25· · · · Q· · This asks you to "Identify all instances


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   ·1· ·where office suspected, investigated, or took any
   ·2· ·enforcement action whatsoever against any
   ·3· ·third-party voter registration organization from
   ·4· ·2011 to present for any of the following activities:
   ·5· ·A, returning voter registration forms outside the
   ·6· ·statutory time period before an election; b,
   ·7· ·returning voter registration forms after the voter
   ·8· ·registration deadline before an election; C altering
   ·9· ·a voter registration form; and D, any other
   10· ·accusations of fraud related to a third-party voter
   11· ·organization's handling of voter registration
   12· ·forms."
   13· · · · · · ·Your answer was:· "An answer may be
   14· ·determined by examining the responses and documents
   15· ·produced for Requests 12 through 17 of plaintiffs'
   16· ·first set of request for production to defendant
   17· ·Ashley Moody."
   18· · · · · · ·Do you stand by this answer?
   19· · · · A· · Yes.
   20· · · · Q· · Okay.· I would like to shift back to
   21· ·Section 97.0575 and talk a little bit about the
   22· ·disclaimer and disclosure provisions of SB -- SB 90.
   23· · · · · · ·And when I say "disclaimer and disclosure
   24· ·provisions," I'm referring to Subsection (3)a, "To
   25· ·provide certain information to voter registration


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   ·1· ·applicants."· And this is the section that's being
   ·2· ·challenged in this litigation.
   ·3· · · · · · ·Is that understood?
   ·4· · · · A· · Yes.
   ·5· · · · Q· · Okay.· So once the Secretary makes a
   ·6· ·referral for a violation of a disclaimer and
   ·7· ·disclosure provision, what is the AG's process for
   ·8· ·determining enforcement?
   ·9· · · · A· · I can't speak to specifics without
   10· ·knowing, you know, facts or circumstances of an
   11· ·individual case.
   12· · · · Q· · At a high level, is there a general
   13· ·process in place?
   14· · · · A· · I can't speak to the specifics of it, but
   15· ·I would assume the civil division would have that.
   16· · · · Q· · Okay.· Are you aware --
   17· · · · A· · I'd have to see the statutory language.
   18· · · · Q· · Okay.· Are you aware of any enforcement
   19· ·guidelines with respect to violations of the
   20· ·disclaimer and disclosure requirement?
   21· · · · A· · Can you repeat that?
   22· · · · Q· · Are you aware of whether or not the
   23· ·Florida AG has any enforcement guidelines with
   24· ·respect to violations of the disclaimer and
   25· ·disclosure requirement?


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   ·1· · · · A· · Not that I'm aware of.
   ·2· · · · Q· · Do you know of someone who would be aware?
   ·3· · · · A· · I'm not sure.· That would be the attorneys
   ·4· ·in this case, maybe.
   ·5· · · · Q· · Are you aware of whether or not the AG can
   ·6· ·enforce a violation of the disclaimer and disclosure
   ·7· ·provision without a referral from the Secretary?
   ·8· · · · A· · I would need to read the -- or reference
   ·9· ·the specifics of the statutory language.
   10· · · · Q· · Do you know what type of civil actions the
   11· ·AG can pursue with respect to disclaimer and
   12· ·disclosure provision violations?
   13· · · · A· · Once again, I'd have to reference the
   14· ·specific statutory language.
   15· · · · Q· · Are you aware if the AG can pursue any
   16· ·type of criminal actions for someone who violates
   17· ·the disclaimer and disclosure provision?
   18· · · · · · ·MR. FARUQUI:· Object to the extent work
   19· · · · product is implicated.
   20· · · · A· · No, I'm not aware.
   21· ·BY MS. TARPLEY:
   22· · · · Q· · Do you know of someone who would be aware?
   23· · · · A· · The attorneys in this case, if they've
   24· ·considered that.
   25· · · · Q· · So Subsection (4) allows the Attorney


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   ·1· ·General to pursue an action for relief, such as an
   ·2· ·injunction, restraining order, or any other order.
   ·3· · · · · · ·Do you know what could fall under any
   ·4· ·other order for violations of the disclaimer and
   ·5· ·disclosure requirement?
   ·6· · · · A· · I would say what a judge deems are in
   ·7· ·order based on the individual facts and
   ·8· ·circumstances of the case.
   ·9· · · · Q· · And what is this based off of?
   10· · · · A· · Can you clarify that?
   11· · · · Q· · Yeah.
   12· · · · · · ·Why would you say what a -- what a judge
   13· ·deems applicable for the circumstances?
   14· · · · A· · Because it would depend on the facts and
   15· ·circumstances of an individual case that is brought
   16· ·before the judge.
   17· · · · Q· · Well, what about what the AG can pursue;
   18· ·is there any type of relief besides an injunction or
   19· ·restraining order that would be appropriate for the
   20· ·disclaimer and disclosure requirement violation?
   21· · · · A· · I'm not an attorney, I can't speak to the
   22· ·specifics of that.
   23· · · · Q· · Are you aware if the AG can revoke the
   24· ·status of a third-party voter registration
   25· ·organization for violating the disclaimer and


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   ·1· ·disclosure requirement?
   ·2· · · · A· · No, I'm not aware.
   ·3· · · · Q· · Do you know who could be the subject of an
   ·4· ·enforcement action for violation of the disclaimer
   ·5· ·and disclosure provision?
   ·6· · · · A· · Can you repeat that?
   ·7· · · · Q· · Do you know who could be the subject of an
   ·8· ·enforcement action for violation of the disclosure
   ·9· ·and disclaimer provision?
   10· · · · A· · No.
   11· · · · Q· · Could enforcement be against a third-party
   12· ·voter registration organization as an entity?
   13· · · · A· · I can't speak to the specifics of that.
   14· ·I'm not the attorney, so I'm not sure.
   15· · · · Q· · Do you know whether or not enforcement
   16· ·could be against individual members of a third-party
   17· ·voter registration organization for violation of a
   18· ·disclaimer and disclosure provision?
   19· · · · A· · I'd have to refer to the specifics of the
   20· ·language.· I'm not sure.
   21· · · · Q· · Are you aware if enforcement could be
   22· ·against individual members of a third-party voter
   23· ·registration organization?
   24· · · · A· · Again, I'm not sure of the specifics.· I'd
   25· ·have to see the language.


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   ·1· · · · Q· · And you're aware that one of the topics of
   ·2· ·this deposition, as highlighted in Exhibit 1, is
   ·3· ·"The office's authority to interpret and enforce
   ·4· ·Florida election and voting laws and any actions
   ·5· ·that have been, will be, or could be taken by the
   ·6· ·office to interpret or enforce the challenged
   ·7· ·provisions"?
   ·8· · · · A· · Yes.
   ·9· · · · Q· · You're aware, correct?
   10· · · · · · ·Okay.· And so you can't speak to who would
   11· ·be the subject of an enforcement action for
   12· ·disclaimer and disclosure violations?
   13· · · · · · ·MR. FARUQUI:· Object to form.
   14· · · · A· · No.
   15· · · · · · ·MS. TARPLEY:· Similar to Mr. Fox, we have
   16· · · · concerns with the lack of knowledge that this
   17· · · · witness has with respect to the 30(b)(6)
   18· · · · topics, specifically, you know, the enforcement
   19· · · · and third-party voter registration organization
   20· · · · enforcement, so we leave open -- we leave this
   21· · · · deposition open and want to reserve that right.
   22· · · · · · ·MR. FARUQUI:· All right.· Well, I guess
   23· · · · since you're both addressing this, I think that
   24· · · · the witness repeatedly said that she'd like to
   25· · · · see the language of the statute, which I think


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   ·1· ·is an entirely appropriate response to a
   ·2· ·question asking somebody to interpret a
   ·3· ·statute.· So I disagree with the assessment.
   ·4· · · · MR. FOX:· Bilal, there's a difference
   ·5· ·between asking to see the language of the
   ·6· ·statute about some specific question and
   ·7· ·repeatedly not having preparation on the
   ·8· ·general nature of the office's enforcement
   ·9· ·authority.
   10· · · · The questions we asked were not limited to
   11· ·sort of specific technical statutory questions.
   12· ·Among other things, I asked a lot of questions
   13· ·about in general the office's authority to
   14· ·issue opinions and make -- take actions against
   15· ·folks who -- against folks who -- like state
   16· ·attorneys -- with respect to their enforcement.
   17· ·There are a lot of things like that that are
   18· ·not specific statutory questions and just
   19· ·related to the office's enforcement authority
   20· ·and determinative authority that are clearly
   21· ·covered by Topic 2.
   22· · · · MR. FARUQUI:· I understand --
   23· · · · MR. FOX:· I don't think the issue is
   24· ·limited to specifics and details of the
   25· ·statute.


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   ·1· · · · MR. FARUQUI:· I understand your concern,
   ·2· ·and I think that the response to the questions
   ·3· ·regarding the opinions was that she was aware
   ·4· ·that -- of the process for opinions, and
   ·5· ·she's -- she's told you that only certain
   ·6· ·government entities can request opinions.· She
   ·7· ·did not know verbatim the list of entities that
   ·8· ·could request opinions, which is entirely
   ·9· ·understandable.
   10· · · · And she -- those -- that -- that entire
   11· ·procedure and process is publicly available on
   12· ·the Attorney General's website, including the
   13· ·list of people who can request opinions and
   14· ·whether they're binding or not.
   15· · · · So to the extent that the witness was
   16· ·required to be prepared about things that are
   17· ·publicly available, I think that would be
   18· ·unduly burdensome and unreasonable to the needs
   19· ·of the case for her to spend her time preparing
   20· ·for things that are basically available
   21· ·publicly and delineated by statute.
   22· · · · MR. FOX:· It wasn't -- my question wasn't
   23· ·limited to -- I wasn't asking for a specific
   24· ·list of all officials who can interpret this
   25· ·provision.· What I asked is, among other


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   ·1· ·things, if there was anyone who could request
   ·2· ·an opinion on the meaning of the challenged
   ·3· ·provisions, which is squarely and directly
   ·4· ·within the topics and is not just a question
   ·5· ·about what the statute means but also a
   ·6· ·question about how the Office of Attorney
   ·7· ·General applies and understands the statute.
   ·8· · · · MR. FARUQUI:· I mean, I would direct you
   ·9· ·to the statute.· If you have additional
   10· ·questions, you can -- excuse me.· I would
   11· ·direct you to our website which has an entire
   12· ·page explaining the opinion process and who can
   13· ·ask and whether it's binding or not.
   14· · · · I mean, I -- I can't believe you expected
   15· ·me to prepare the witness to answer something
   16· ·that was publicly available on the office's
   17· ·website.
   18· · · · MR. FOX:· So I think our opinions -- we're
   19· ·going to have to disagree for right now.· I'm
   20· ·not going to try to respond repeatedly.
   21· · · · The other area of concern, I mean, the
   22· ·witness had no knowledge of enforcement actions
   23· ·taken against third-party voter registration
   24· ·organizations at all.· And that's not just
   25· ·statutory information, it's also a question of


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   ·1· ·what has been done and what can be done against
   ·2· ·third-party voter registration organizations
   ·3· ·and what the office thinks about the
   ·4· ·sufficiency of its authority against
   ·5· ·third-party voter registration organizations.
   ·6· · · · And that is a whole area that is directly
   ·7· ·relevant, clearly within the topics, there was
   ·8· ·just no preparation on it.
   ·9· · · · It's not the witness's fault, I want to be
   10· ·clear about that.· But we are -- I am very
   11· ·concerned about that preparation issue.
   12· · · · MR. FARUQUI:· And again, I disagree.· The
   13· ·witness told you that every enforcement --
   14· ·well, I think if you review the records, you
   15· ·can see that no enforcement action has been
   16· ·taken ever.· And the witness told you that
   17· ·any -- any such cases, the documents have been
   18· ·produced.
   19· · · · If you want to know the specifics of every
   20· ·case, you can ask about a specific case and
   21· ·show her the document.· That's entirely up to
   22· ·you.
   23· · · · But, I mean, the answer was everything
   24· ·that this office ever done with respect to
   25· ·third-party voter registrations that could be


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   ·1· ·found based on the search terms, and et cetera,
   ·2· ·et cetera, was produced.· If -- if the
   ·3· ·documents show that we've never taken an
   ·4· ·enforcement action, I think you have your
   ·5· ·answer.
   ·6· · · · MR. FOX:· We're entitled -- I mean,
   ·7· ·there's a reason why we take depositions after
   ·8· ·we receive documents; we're entitled to ask an
   ·9· ·informed representative of the office questions
   10· ·about the issues.· And we couldn't do it
   11· ·because she wasn't prepared.· Again, not her
   12· ·fault, but a serious concern for us.· So I
   13· ·don't think we're going to resolve this just
   14· ·here talking now.
   15· · · · MR. FARUQUI:· No, I -- I understand
   16· ·that -- that you're entitled to ask questions.
   17· ·That's why we didn't oppose the deposition.
   18· ·But to expect the witness to have every
   19· ·document memorized and every statute memorized
   20· ·is -- I don't think is within the realm of
   21· ·reasonable preparation.
   22· · · · MR. FOX:· Yeah.· I just completely
   23· ·disagree with that characterization of what we
   24· ·were asking.
   25· · · · MR. FARUQUI:· That's fine.


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   ·1· · · · MR. DEVANEY:· I think the -- I'll just
   ·2· ·chime in.· I think the transcript will speak
   ·3· ·for itself.· We were asking questions regarding
   ·4· ·just the basic enforcement responsibilities and
   ·5· ·powers of the Attorney General under the
   ·6· ·relevant statutes, which the witness was not
   ·7· ·able to answer.· Time and time again, it was "I
   ·8· ·don't know, I'd have to refer to the attorneys
   ·9· ·who worked on this case, the statute will speak
   10· ·for itself."
   11· · · · I think the transcript, in fact, will
   12· ·speak for itself, and we are going to leave
   13· ·this deposition open.· And if we choose to seek
   14· ·to continue with another 30(b)(6) witness, or
   15· ·with Ms. Guzzo, you can make any objections at
   16· ·that point in time.
   17· · · · MR. FARUQUI:· That's fine.
   18· · · · Was there anything else?
   19· · · · MR. FOX:· Not from me.
   20· · · · MS. TARPLEY:· No more questions from me.
   21· · · · MR. FARUQUI:· Okay.· Can we go off the
   22· ·record now?
   23· · · · THE STENOGRAPHER:· Okay.· Off the record.
   24· · · · MR. FARUQUI:· I'm sorry.· I forgot -- can
   25· ·we go back on?· I'm sorry.


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   ·1· · · · The witness will read.
   ·2· · · · That's all I had.
   ·3· · · · We'll order a copy if anybody else orders.
   ·4· · · · MR. FOX:· Yeah, we'll want a copy.
   ·5· · · · MR. DEVANEY:· Yeah, we'll -- we'll order a
   ·6· ·copy.
   ·7· · · · (Proceedings concluded at 11:55 a.m.)
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   ·1· · · · · · · · · · ·CERTIFICATE OF OATH

   ·2

   ·3· ·STATE OF FLORIDA· · · · ·)

   ·4· ·COUNTY OF LEON· · · · · ·)

   ·5

   ·6

   ·7

   ·8· · · · · · ·I, the undersigned authority, certify that

   ·9· ·30(b)(6) OFFICE OF THE ATTORNEY GENERAL (Elizabeth

   10· ·Guzzo) remotely appeared before me on October 22,

   11· ·2021 and was duly sworn.

   12

   13· · · · · · ·SIGNED AND SEALED this 25th day of

   14· ·October, 2021.

   15

   16

   17

   18

   19

   20·   ·   ·   ·   ·   ·   ·   ·   ·   ·SANDRA L. NARGIZ, RPR, RMR, CRR, CCR
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·snargiz@comcast.net
   21·   ·   ·   ·   ·   ·   ·   ·   ·   ·Commission #GG172788
   · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·EXPIRES: APRIL 18TH, 2022
   22

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   ·1· · · · · · · · · ·CERTIFICATE OF REPORTER

   ·2· ·STATE OF FLORIDA· · )

   ·3· ·COUNTY OF LEON· · · )

   ·4· · · · · · ·I, SANDRA L. NARGIZ, Registered

   ·5· ·Professional Reporter, certify that I was authorized

   ·6· ·to and did stenographically report the deposition of

   ·7· ·30(b)(6) of OFFICE OF THE ATTORNEY GENERAL

   ·8· ·(Elizabeth Guzzo); that a review of the transcript

   ·9· ·was requested, and that the foregoing transcript,

   10· ·pages 1 through 84, is a true record of my

   11· ·stenographic notes.

   12· · · · · · ·I further certify that I am not a

   13· ·relative, employee, attorney or counsel of any of

   14· ·the parties, nor am I a relative or employee of any

   15· ·of the parties' attorney or counsel connected with

   16· ·the action, nor am I financially interested in the

   17· ·action.

   18· · · · · · ·DATED this 25th day of October, 2021.

   19

   20

   21

   22· · · · · · · · · ·SANDRA L. NARGIZ, RPR, RMR, CRR, CRC
   · · · · · · · · · · ·Notary Public
   23· · · · · · · · · ·snargiz@comcast.net

   24

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   ·1
   · ·   ·October 25, 2021
   ·2
   · ·   ·OFFICE OF THE ATTORNEY GENERAL (Elizabeth Guzzo)
   ·3·   ·c/o· BILAL AHMED FARUQUI, ESQUIRE
   · ·   · · · bilal.faruqui@myfloridalegal.com
   ·4

   ·5· ·RE:· League of Women Voters, et al., vs.
   · · · · · Secretary Lee, et al.
   ·6· · · · Case No.· 4:21 cv 186-MW/MAF

   ·7· ·Dear Ms. Guzzo:

   ·8· ·Please take notice that on October 22, 2021, you
   · · ·gave your deposition in the above cause.· At that
   ·9· ·time you did not waive your signature.

   10·   ·The above-addressed attorney has ordered a copy of
   · ·   ·the transcript and will make arrangements with you
   11·   ·to read their copy.· Please execute the Errata
   · ·   ·Sheet, which can be found at the back of the
   12·   ·transcript, and have it returned to us at
   · ·   ·production@phippsreporting.com for distribution to
   13·   ·all parties.

   14·   ·If you do not read and sign the transcript within
   · ·   ·thirty (30) days, the original, which has already
   15·   ·been forwarded to the ordering attorney, may be
   · ·   ·filed with the Clerk of the Court.
   16
   · ·   ·If you wish to waive your signature now, please sign
   17·   ·your name to the blank at the bottom of this letter
   · ·   ·and return to the address listed below.
   18
   · ·   ·Very truly yours,
   19

   20·   ·Sandra L. Nargiz, RPR, CMR, CRR
   · ·   ·Phipps Reporting, Inc.
   21·   ·1551 Forum Place, Suite 200-E
   · ·   ·West Palm Beach, Florida· 33401
   22
   · ·   ·I do hereby waive my signature.
   23
   · ·   ·_____________________________
   24·   ·30(b)(6) OFFICE OF THE ATTORNEY GENERAL
   · ·   ·(Elizabeth Guzzo)
   25·   ·Job No.· 212964


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   ·1· · · · · · · · · · · · ERRATA SHEET

   ·2· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

   ·3·   ·In   Re:· League of Women Voters, et al., vs. Secretary
   · ·   · ·   · · · · · · · · · ·Lee, et al.
   ·4·   · ·   · · · · · Case No.: 4:21 cv 186-MW/MAF
   · ·   · ·   · · · · · 30(b)(6) OFFICE OF THE ATTORNEY GENERAL
   ·5·   · ·   · · · · · · · · (Elizabeth Guzzo)

   ·6· · · · · · · · · · · · ·October 22, 2021

   ·7· ·PAGE· ·LINE· · · · CHANGE· · · · · · · · · REASON
   · · ·____________________________________________________
   ·8· ·____________________________________________________

   ·9· ·____________________________________________________

   10· ·____________________________________________________

   11· ·____________________________________________________

   12· ·____________________________________________________

   13· ·____________________________________________________

   14· ·____________________________________________________

   15· ·____________________________________________________

   16· ·____________________________________________________

   17· ·____________________________________________________

   18·   ·Under penalties of perjury, I declare that I have
   · ·   ·read the foregoing transcript of my deposition and I
   19·   ·hereby swear that my testimony therein was true at
   · ·   ·the time it was given and is now true and correct,
   20·   ·including any corrections and/or amendments listed
   · ·   ·above.
   21

   22· ·____· · · · · ______________________________________

   23· ·Date· · · · ·30(b)(6) OFFICE OF THE ATTORNEY GENERAL
   · · · · · · · · · (Elizabeth Guzzo)
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AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the                                           30(b(6) Office of AG
                                                                                                                                    (Guzzo)
                                                          Northern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

       League of Women Voters of Florida, Inc. et al.
                                                                                                                               League 1
                                                                               )                                                  S. Nargiz 10/22/21
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      4:21-cv-186-MW-MAF
                      Laurel M. Lee, et al.                                    )
                                                                               )                                                         Exhibit
                              Defendant                                        )
                                                                                                                                         167
                                                                                                                                      ________________
                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION                                              4:21-cv-186-MW/MAF

 To:               Office of the Attorney General, 107 W. Gaines Street, The Collin Building, Tallahassee, FL 32399

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
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WKHVHPDWWHUV     6HHDWWDFKHG
                                                                                                                                            Exhibit
 Place:                                                                                Date and Time:
           By remote videographic means or as agreed.                                                    10/22/2021 9:30 am                  167
                                                                                                                                         ________________
                                                                                                                                      4:21-cv-186-MW/MAF

           The deposition will be recorded by this method:

        u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/11/2021
                                   CLERK OF COURT
                                                                                         OR
                                                                                                               /s/ Fritz Wermuth
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiffs League of Women Voters of Florida Inc, et al.                , who issues or requests this subpoena, are:
Fritz Wermuth, King, Blackwell, Zehnder & Wermuth P.A., 25 East Pine St., Orlando FL 3280, FWermuth@kbzwlaw.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 4:21-cv-186-MW-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC., et al.,
                                           Case Nos.: 4:21-cv-186-MW/MAF
                 Plaintiffs,                          4:21-cv-242-MW/MAF
                    v.

LAUREL M. LEE, in her official
capacity as Florida Secretary of State,
et al.,

                 Defendants,
                 and

REPUBLICAN NATIONAL
COMMITTEE, and NATIONAL
REPUBLICAN SENATORIAL
COMMITTEE,
                 Intervenor-Defendants.

                   ATTACHMENT TO SUBPOENA TO
               FLORIDA OFFICE OF ATTORNEY GENERAL

      Pursuant to Fed. R. Civ. P. 30(b)(6), Plaintiffs in Case No. 4:21-cv-186 (the

“League Plaintiffs”) and Case No. 4:21-cv-242 (the “HTFF Plaintiffs”) provide the

following description of the matters for examination at the deposition of the Florida

Office of Attorney General.
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                                   DEFINITIONS

       A.     “Challenged Provisions” means any and all provisions of Senate Bill

90 at issue and challenged by Plaintiffs in these actions.

       B.     “Office” means the Office of Attorney General.

       C.     “Drop box” means a secured box provided by Supervisors of Elections

offices where voters can physically return a vote-by-mail ballot in a sealed envelope.

       D.     “Senate Bill 90” refers to Senate Bill 90 (2021), Florida’s omnibus

election legislation, signed into law by Governor DeSantis on May 6, 2021, and any

prior versions of that bill, including but not limited to HB 7041 and any prior

versions of that bill.

       E.     “Third-Party Voter Registration Organization” means any person,

entity, or organization that collects any voter registration application, but does not

include: (1) a person who seeks only to register to vote or collect a voter registration

application from that person’s spouse, child, or parent, or (2) a person engaged in

registering to vote or collecting voter registration applications as an employee or

agent of the Division of Elections, supervisor of elections, Department of Highway

Safety and Motor Vehicles, or an official voter registration agency.

       F.     “Unlawful voting conduct” includes fraud in connection with casting a

vote (Fla. Stat. § 104.041); vote selling (Fla. Stat. §104.045); fraud in connection

with vote-by-mail ballots and voting (Fla. Stat. § 104.047); corruptly influencing

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voting (Fla. Stat. § 104.061); aiding, abetting, advising, or conspiring in voter fraud

activity (Fla. Stat. § 104.091); unqualified electors willfully voting (Fla. Stat. §

104.15); voting a fraudulent ballot (Fla. Stat. § 104.16); voting in person after casting

a vote-by-mail ballot (Fla. Stat. § 104.17); casting more than one ballot at any

election (Fla. Stat. § 104.18); unlawful possession or tampering with a voting system

(Fla. Stat. § 104.30); or any other type of voter or election fraud or voting-;related

misconduct that is prohibited by Florida or federal law.

      G.     “Vote-by-mail ballot” means a ballot that a voter requests and either

picks up or has delivered to them so that the voter does not have to vote in-person

during early voting or on election day.

      H.     “Volunteer assistance” refers to when a third-party organization or

individual “physically possesses” a voter’s vote-by-mail ballot. Volunteer assistance

includes, for example, the ballot delivery of a volunteer assistor and, more broadly,

may include the ballot delivery of a third-party organization or individual that a

Supervisor of Elections treats as volunteering to deliver a voter’s vote-by-mail

ballot, aside from a common carrier.

                                       TOPICS

      1.     Each State interest, if any, that the Office believes or contends each of

the Challenged Provisions serves, promotes, or advances, and all facts and evidence

supporting a connection between the Challenged Provisions and the State interest(s).

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      2.        The Office’s authority to interpret and enforce Florida election and

voting law, and actions that have been, will be, or could be taken by the Office to

interpret or enforce the Challenged Provisions.

      3.        All incidents before the enactment of Senate Bill 90 of which the Office

is aware of unlawful voting conduct or attempted unlawful voting conduct relating

to (1) drop boxes, (2) volunteer assistance, (3) the four-year duration of vote-by-mail

ballot requests, (4) non-partisan activities within 150 feet of a polling place, (5)

assistance provided with voting by mail for persons with disabilities; any

investigation of such incidents; and the results of such investigations.

      4.        All complaints the Office has received from voters relating to alleged

delays by Third Party Voter Registration Organizations in submitting voter

registration forms, any investigations conducted of such complaints, and the results

of such investigations.

      5.        The Office’s understanding of how, if at all, Senate Bill 90’s

amendment to Fla. Stat. § 102.031(4)(b), changed the meaning of that provision, the

basis for that understanding, and any guidance the Office has provided to anyone on

that subject.

      6.        The success or failure of the 2020 general election in Florida in terms

of election integrity and any other factors that the Office considers relevant in




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evaluating success or failure, and the Office’s understanding of what contributed to

that success or failure.

      7.     All communications regarding Senate Bill 90 between the Office and

the following individuals and entities: members of the Florida Legislature; the

Florida Department of State; the Florida Governor’s Office; any Florida Supervisor

of Elections; Defendant-Intervenors; the National Republican Congressional

Committee; the Election Integrity Committee; the Republican State Leadership

Committee “Commission on Election Integrity”; Kathleen King; Senator Joseph

Gruters; Senator Kathleen Passidomo; Representative Paul Renner; any Republican

State or local officials; the Heritage Foundation; Heritage Action for America; and

any of their employees, staff, contractors, consultants, advisors, agents,

representatives, or anyone acting on their behalf.

      8.     Any analysis that the Office has conducted, information the Office has

reviewed, and communications the Office has engaged in, concerning (1) the

anticipated or actual effects of any of the Challenged Provisions on voting in Florida,

(2) the anticipated or actual effects of any of the Challenged Provisions on Black or

Latino voters, or (3) the anticipated or actual costs of implementing any of the

Challenged Provisions and which entities would incur them.

      9.     The Attorney General’s collection and production of documents in

response to Plaintiffs’ Requests for the Production of Documents, including but not

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limited to the sources of documents that were collected, the means by which such

documents were searched and reviewed, and any sources of potentially responsive

documents that were not collected, searched, and reviewed.




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